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6. VRCG does not have an office in New York City. Jeffrey Johnson, a
director of VRCG, is based in the United States. VRCG itself has no employees or other
presence in the United States. VRCG indirectly owns VR Advisory Services Ltd
(“VRASL”) another Cayman entity, which also does not have an office or employees in
the United States. VRASL is the general partner of VRGP. VRASL acts as an
investment advisor and has a sub-advisor, VR Advisory Services (USA) LLC (“VRASL
USA”), which is based in the U.S. VRCG’s website identifies certain of its affiliates
along with those affiliates’ locations. That website is hosted on servers in the United
Kingdom.

7. Kirwan is an investment vehicle for a consortium of parties that
participated in the Yukos Finance auction. Kirwan never had and never was intended to
have trading operations or employees or to generate income other than from its indirect
investment in Yukos Finance B.V. Kirwan’s only assets as of the date of the filing of the
petition in this case (“Petition Date”) are its participatory (membership) interest in a
wholly-owned Russian subsidiary, OOO Promneftstroy (“PNS”); minimal cash in bank
accounts; retainers placed with U.S. lawyers; and loans to PNS. The consortium
intended Kirwan to hold, obtain and then distribute value from Yukos Finance B.V. and
its subsidiaries to its shareholders.

8. Kirwan’s organizational document is its articles, dated October 18, 2007,
and referred to in the SHA (as defined below) as the “By-Laws” (the “Kirwan Charter”)
(Stipulation Exhibit 8/1). Although it has changed over time, Kirwan’s board of
directors currently consists of Class A director Emile du Toit, who is also CFO of VR

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Capital; Class B directors Olaitan Senbanjo, who is also Deputy General Counsel of
VRASL, and Deitz; and Class C director Lynch.

9. PNS participated in the auction of Yukos Finance B.V. (‘Wukos Finance”).
Asa result of its successful bid at the auction described below, PNS has a claim to all of
the shares in Yukos Finance (which claim is disputed) and is the party to the Yukos
Finance Litigation described and defined below. Other than asserting title to Yukos
Finance shares PNS does not do anything to generate revenue.

10.  Yukos Finance’s current net asset value is believed to be $800 million.
Acquisition of Yukos Finance

41. On Maxch 6, 2006, certain creditors of Yukos Oil Company (“Yukos Oi’)
filed an involuntary bankruptcy application against it in Moscow, where Yukos Oil was
located.

12. OnMarch 28, 2006, the Russian bankruptcy court placed Yukos Oil under
supervision, and Yukos Oil's creditors endeavored to liquidate the company. In July,
2007, the Russian court-appointed bankruptcy receiver noticed an auction for 100% of
the shares in Yukos Finance, a Netherlands company and Yukos Oil’s largest foreign

subsidiary, for August 15, 2007.

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21. On August 15, 2007, PNS won the auction for 100% of the shares of Yukos

Finance. The winning bid was approximately $309 million.

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23. On August 20, 2007, PNS entered into an agreement with the Russian
bankruptcy receiver to purchase the Yukos Finance shares, the Yukos Finance Share

Purchase Agreement (“Yukos Finance SPA”) (Stipulation Exhibit 23/1).

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25, On August 30, 2007, Lynch, Mascini, VRGP, Lapidem, Renaissance

Holdings Management Limited (a Renaissance Capital entity) and Kirwan executed a

Shareholders Agreement (the “SHA”) (Stipulation Exhibit 25/1). Concurrent to the

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negotiation and execution of the SHA, the parties amended PNS’s charter (the “2007
PNS Charter”) (Stipulation Exhibits 25/2 and 25/3).

26. On August 31, 2007, Lapidem and Mascini provided $250 million to
Kirwan. Of these funds Kirwan provided about $247.5 million to PNS, and PNS made
the final payment (having already paid $60 million by way of the deposit) for the Yukos
Finance shares to the Russian bankruptcy receiver. As of that date, the consortium

members believed that the Dutch courts would recognize their purchase.

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ES © yoch or his affiliate was entitled to receive a

fee of $1,250,000 upon closing of the consortium’s purchase of Yukos Finance. In
September 2007, Kirwan paid $1,250,000 to Gigalogic Holdings Limited, a Cypriot
company nominated by Lynch.

28. | OnSeptember 3, 2010, Kirwan and PNS entered into an agreement
regarding the engagement and payment of legal costs and expenses of four law firms
(Simmons & Simmons, Akin Gump Strauss Hauer & Feld LLP (“Akin Gump’), Mullin
Hoard & Brown LLP and Houthoff Buruma) in relation to claims of Kirwan and its
subsidiaries (the “PNS/Kirwan Legal Advisors Agreement”) (Stipulation Exhibit 28/1).

29. Also on this date, Kirwan and VRGP entered into an agreement regarding
the engagement and payment of legal costs and expenses of Clifford Chance in relation
to claims of Kirwan and its subsidiaries (Stipulation Exhibit 29/1) (the “Kirwan/VRGP

Clifford Chance Agreement”).

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30. Also on this date, Kirwan and VRCG entered into an agreement
regarding the engagement and payment of legal costs and expenses of Akin Gump in
relation to claims of Kirwan and its subsidiaries (Stipulation Exhibit 30/1) (the
“Kirwan/VRCG Akin Gump Agreement”).

31. OnSeptember 10, 2007 the Russian bankruptcy receiver nominated Lynch
and Robert Reid (an employee of Renaissance Capital) as directors of Yukos Finance
(Stipulation Exhibit 31/1) and then transferred the shares in Yukos Finance to PNS by a
deed of transfer dated September 10, 2007 (Stipulation Exhibit 31/2).

32. OnSeptember 19, 2007, Halebay Holdings Limited (Halebay’) agreed to

loan funds to PNS to repay the Rosneft loan to PNS of circa $60 million that had been

used to pay the auction deposit. §{JJJJIIIIaaaaaa aaa

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QE On March 30, 2011, Mascini and Lapidem provided funding to Kirwan (who

in turn provided the funds to PNS) for the purpose of repaying in full the Halebay loan.
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34. On September 30, 2010, the SHA parties entered into an addendum to the
SHA (“SHA Addendum’) (Stipulation Exhibit 34 ml]
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GUS i wan’s board of managers, including Deitz and Lynch, signed the
Kirwan board resolutions approving the SHA Addendum Qi

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35.  Lapidem and Mascini provided all of the funding for PNS’s acquisition of

Yukos Finance, including the repayment of the loan in relation to the $60 million
deposit for the participation in the Yukos Finance auction:

a. On August 30, 2007, Lapidem and Mascini paid $2,482,929 for the
newly issued class A and class B shares.

b. On August 30, 2007 Lapidem and Mascini entered into Loans (as
defined. in the SHA) with Kirwan and provided Karwan with $247,500,000,
(Stipulation Exhibits 35/1 and 35/2). On September 5, 2007 the interest-bearing
loan agreement was amended to becomean interest-free loan agreement
(Stipulation Exhibit 35/1).

C. On or about March 30, 2011 Kirwan served Loan Cash Call Notices
(as defined in the SHA Addendum) on Mascini and Lapidem (Stipulation
Exhibits 35/3 and 35/4), and on March 30, 2011 Mascini entered into a loan
agreement with Kirwan and provided QED to Kirwan (Stipulation
Exhibit 35/5) and Lapidem entered into a loan agreement with Kirwan and
provided (EG to Kirwan (Stipulation Exhibit 35/6). These funds were

provided by Mascini and Lapidem for the purpose of repaying the Halebay loan.

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d. The total of the foregoing amounts in U.S. dollars is over $300
million.1

36.  Lapidem and Mascini have provided additional funds to Kirwan in the

approximate total amount of (Ee
ED binging the total
amount of funds provided to approximately $345 million.2, Documentation relating to
the provision of these additional funds is Stipulation Exhibit 36/1. Other than for the
Halebay facility, the additional funds were provided without a formal board or
shareholder meeting being held or approval sought bby way of written resolutions.
Generally, Lynch was not notified by Lapidem, Mascini or VR Capital when Lapidem
or Mascini provided additional funds to Kirwan nor was his consent as a director
sought, though Kirwan’s activities and its legal bills and the need to fund them were
topics of consortium emails and calls on which Lynch participated (Stipulation Exhibit
36/2).

37. The amounts provided to Kirwan by Lapidem and Mascini described in
the preceding two paragraphs have not been repaid. (i
aoa] Lynch acknowledges that he cannot
compel Mascini and Lapidem to fund further Cash Call Notices (as defined in the SHA)

from Kirwan.

 

1 Nothing in this Stipulation shall be deemed an agreement or admission by any of the parties as to the
characterization of the amounts that Lapidem and Mascini have provided to Kirwan.

2 The parties do not stipulate to the actual amount advanced but agree on this amount as an
approximation only for purposes of this Stipulation.

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38. In February 2013, Renaissance Capital sold its interest in Mascini to VR
Capital for a nominal cash consideration and VR Capital's assumption of Renaissance
Capital’s funding obligations towards Mascini, making VR Capital the majority
shareholder of Mascini. In March 2013, VR Capital sold a portion of its acquired
interests in Mascini to Jervis Properties Inc. (“Jervis”), an existing shareholder and
original co-investor in Mascini with Renaissance Capital in 2007. Jervis remains an
investor in Mascini to this day.

39. Before VR Capital’s acquisition of a controlling stake in Mascini,
documents evidencing the provision of funds to Kirwan by Lapidem and Mascini were
made substantially contemporaneously with such provision. After VR Capital’s
acquisition of a controlling stake in Mascini in 2013, VR Capital personnel replaced
Renaissance Capital personnel in managing the financial operations of Kirwan. When
money was required for additional funding, funding requests for Kirwan were sent by
email directly to each of Mascini or Lapidem’s individual investors, rather than to
Mascini and Lapidem, by VR Capital personnel. Upon receipt of funds from their
respective shareholders, Mascini and Lapidem then provided the funds to Karwan
when, and in such amounts, as required. Lynch was not notified of these transactions
by Lapidem, Mascini or VR Capital and nor was his consent as a director sought.
Formal agreements memorializing this post-acquisition funding were created in 2016.

40. Lynch was not required to and has not provided any funding, advances or
other credit directly to Kirwan. In August 2014, Lynch presented certain requests for
reimbursement of purported expenses to the Kirwan board of directors of $92,506.76

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(Stipulation Exhibit 40/1). The list of expenses is Stipulation Exhibit 40 /2. The Board
of Kirwan considered the issue in a meeting on September 22, 2014 and voted not to
approve Lynch's request. Two directors expressed the view at the Board meeting that
there was no proof of the expenses and they were not presented ina timely manner,
which Lynch disputed.
Yukos Finance Litigation in the Netherlands

The October 31, 2007 Ruling

Al. On October 31, 2007, the Amsterdam District Court ruled in favor of the
former international legal counsel and Chief Financial Officer at Yukos Oil, Godfrey,
and Misamore, in a lawsuit contending that the Yukos Oil Russian bankruptcy receiver
lacked the authority to remove them as directors (the “October 31, 2007 Ruling”). This
decision called PNS’s purchase of Yukos Finance into question, as it found that on the
basis of Dutch public order the effects of Yukos Oil’s bankruptcy, including the powers
of the bankruptcy receiver, could not be recognized in the Netherlands. Following this
decision, Godfrey and Misamore were reinstated in the corporate registry of Yukos
Finance as its directors, from which they previously had been removed in favor of the
receiver's appointees. Following a motion by PNS and Yukos Finance (as represented
by Reid and Lynch), the Amsterdam District Court also ordered that a note be placed in
the registry stating that the directorships of Yukos Finance were disputed, in that Reid
and Lynch also claimed to be the directors in lieu of Godfrey and Misamore.

42. Following the October 31, 2007 Ruling, the Yukos Foundation board
(whose members included Godfrey, Misamore and a representative of GML) did not

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sign the settlement agreement. The Yukos Foundation is a Dutch law trust (known as a
stichting) controlled by the former Yukos Oil management which controls Yukos
Finance’s subsidiary, Yukos International UK B.V. (“Yukes International”), into which
subsidiary (and subsidiaries thereof) the former Yukos Oil management had transferred
Yukos Finance’s assets in a restructuring in 2005. A settlement agreement was being
negotiated among the Kirwan consortium, GML and Rosneft in the weeks following the
Yukos Finance auction in accordance with the discussions prior to the auction, but a
settlement ultimately was not concluded. Asa result of the October 31, 2007 Ruling, the
Kirwan consortium was drawn into what has become years of litigation over the
ownership of Yukos Finance.

43.  Yukos Finance (as represented by Reid and Lynch) and PNS joined as
interested parties in the Russian bankruptcy receiver's appeal of the October 31, 2007
Ruling. Costs and expenses of the intervening parties were, and continue to be, paid
solely by Kirwan on behalf of PNS. In 2010, the Amsterdam Court of Appeals ruled
against PNS on this appeal. The Court of Appeals held, on the basis of territoriality,
that no actions of a Russian bankruptcy receiver could be recognized in the
Netherlands, and therefore PNS had never validly purchased Yukos Finance. The
Amsterdam Court of Appeals made no finding on the District Court’s October 31, 2007
Ruling on Dutch public order.

44. PNS appealed the Amsterdam Court of Appeals’ decision to the Dutch
Supreme Court. In September 2013, the Dutch Supreme Court reversed the Court of
Appeals’ decision, finding that private international law provided no bar to the

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recognition of the acts of a Russian receiver in the Netherlands. The matter was
remanded to the Court of Appeals so alternate grounds advanced by Messrs. Godfrey
and Misamore could be considered. The appeal of the October 31, 2007 Ruling is
scheduled to be heard on November 28, 2016. The Court of Appeals has not scheduled a
date for issuance of a decision. All parties to the case have an automatic right of appeal
of the Court of Appeals’ decision to the Dutch Supreme Court.

Glendale Litigation

45. On August 10 and 14, 2007, Yukos Capital S.A-R.L. (“Yukos Capital”), a
subsidiary of Yukos Finance, and Glendale Group Ltd. (“Glendale”) respectively filed
conservatory attachments over the shares of Yukos Finance in an amount of
approximately $3 billion (the “Glendale Litigation”). The attachments were based on
loans allegedly made by Yukos Capital to Yukos Oil and promissory notes allegedly
issued by Yukos Oil and subsequently endorsed to Glendale prior to its bankruptcy that
were not recognized in the Russian bankruptcy. Yukos Capital and Glendale are
controlled by Godfrey and Misamore. The asserted value of the Glendale Litigation
exceeds the value of Yukos Finance’s assets. The Kirwan consortium learned of the
existence of these actions only after PNS had prevailed at the Yukos Finance auction.

46. In 2008, Yukos Capital and Glendale sought to convert the attachments of
Yukos Finance shares to “executory status” and require a court-ordered auction of the
Yukos Finance shares, with all proceeds going to satisfy the $3 billion Yukos Capital

and Glendale claims.

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47. InJanuary 2009, PNS filed a motion to join the Glendale Litigation as an
interested party. PNS filed defenses on procedural grounds which were rejected in 2012
by the Amsterdam District Court. In early 2013, PNS appealed the Amsterdam District
Court's decisions, which appeals were rejected by the Court of Appeals in 2014. PNS
appealed the Court of Appeals’ decisions to the Dutch Supreme Court, which appeal
was rejected on November 13, 2015. PNS sought reconsideration, which also was
rejected.

48. The Glendale Litigation is currently proceeding on the merits before the
Amsterdam District Court {ii ii
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Freezing Order Litigation

49, PNS’s litigation adversaries also brought an action in the Dutch courts
through Yukos Finance’s subsidiary, Yukos International, claiming damages (in the
amount of up to $333 million) against PNS, Rosneft and Lynch for the harm allegedly
suffered by Yukos International as a result of a freezing order over Yukos International
assets which was subsequently vacated, as discussed below (the “Freezing Order
Liability Litigation,” and together with the October 31, 2007 Ruling and the Glendale
Litigation, the “Yukos Finance Litigation”).

50. The freezing order in question was obtained by PNS and Rosneft in March
2008 and restrained Yukos International and its directors (Godfrey and Misamore) from
distributing funds from Yukos International’s bank account until the issue of ownership

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of the Yukos Finance shares (and therefore the ownership of Yukos International) was
resolved. In 2011, the Dutch Supreme Court concluded that because of the October 31,
2007 Ruling, the freezing order should not have been granted. The Supreme Court
therefore overturned the District and Appeals Courts’ decisions granting the injunctive
relief.

51. Yukos International subsequently sued PNS, Rosneft, and Lynch for the
damage it allegedly incurred complying with the freezing order. On February 11, 2015,
the District Court of Amsterdam held that PNS was liable in principle for damages but
rejected the amount sought ($333 million) by Yukos International. Instead, the court
held that the amount of compensation to be awarded to Yukos International shall be
determined in damage assessment proceedings. All claims against Lynch were rejected.
PNS has appealed the District Court’s decision and Yukos International cross-appealed
in regards to the dismissal of Lynch’s liability. The case is now with the Court of
Appeals.

Other Litigation

52. In 2007, Akin Gump represented VR Capital, Renaissance Capital, Deitz,
Lynch and Robert Foresman (of Renaissance Capital) in section 1782 discovery
proceedings brought by Godfrey & Misamore in the Southern District of New York (the
“2007 Section 1782 Proceedings”). The ex parte petition, document requests and
memorandum of law are Stipulation Exhibits 52/1, 52/2 and 52/3 respectively. Judge
Rakoff quashed Godfrey & Misamore’s subpoenas in a decision dated November 30,
2007 (Stipulation Exhibit 52/4). Lynch was aware of Akin Gump’s representation of

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him and other respondents in these proceedings and has never objected to Kirwan’s
payment of the defense of the 2007 Section 1782 Proceedings.

53. On October 5, 2015, Godfrey and others filed an ex parte petition in the
Southern District of New York seeking discovery from Jeffrey Johnson, Deitz, and
VRCG (the “2015 Section 1782 Proceedings”). The petition, document requests and
memorandum of law are Stipulation Exhibits 53/1, 53/2 and 53/3 respectively. Akin
Gump represents Deitz, Jeffrey Johnson (a director and COO of VRCG), and VRCG in
the 2015 Section 1782 Proceedings. Lynch was not informed by Lapidem, Mascini,

VRCG, Deitz or Johnson of, and did not approve, the 2015 Akin Gump engagement

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55. At present, PNS does not have control of Yukos Finance or its assets.
Instead, PNS’s litigation adversaries have control of Yukos Finance’s assets and are
believed to be using those assets to fund the ongoing litigation with PNS.

Kirwan’s Financial Statements

 

56. On March 25, 2011, a general meeting of the shareholders of Kirwan was
held. At that meeting, Mascini, Lapidem, and Lynch (acting through their proxies)
voted their shares unanimously to approve the annual accounts for the accounting
years ended December 21, 2007, December 31, 2008, and December 31, 2009 and for
Kirwan to continue its activity despite its losses (Stipulation Exhibit 56/1).

57. On November 14, 2011, a general meeting of the shareholders of Kirwan.
was held. At that meeting, Mascini, Lapidem, and Lynch (acting through their proxies)
voted their shares unanimously to approve the annual accounts for the accounting year
ended December 31, 2010 and for Kirwan to continue its activity despite its losses
(Stipulation Exhibit 57/1).

58. On May 21, 2013, a general meeting of the shareholders of Kirwan was
held. At that meeting, Mascini, Lapidem, and Lynch (acting through their proxies)
voted their shares unanimously to approve the annual accounts for the accounting year
ended December 31, 2011 and for Kirwan to continue its activity despite its losses
(Stipulation Exhibit 58/1).

59. All of the Kirwan annual accounts referred to above record the funds

provided to Kirwan by Lapidem and Mascini as loans.

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60. Despite Lynch’s request in April 2014, Kirwan’s board has not prepared
annual accounts for any year after 2011. A transcript of a portion of the Board meeting
of February 11, 2015 relating to the preparation of accounts is Stipulation Exhibit 60/1.
Board meetings were not recorded or transcribed and Lynch did not inform any of the
board members that the meeting was being recorded.

Professional Representation

Houthoff Buruma

61. Houthoff Buruma (“Houthoff’) represents PNS and Yukos Finance (as
represented by Lynch and Reid) in the Dutch Yukos Finance Litigation. Houthoff also
represents PNS and Lynch in the Freezing Order Liability Litigation. Houthoff has
been issuing its invoices in PNS’s name for all of these representations. (x
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Kirwan has paid Houthoff Buruma’s invoices directly from funds provided exclusively
by Lapidem and Mascini. At present, over {Bis owed to Houthoff Buruma in
connection with its efforts on behalf of PNS.

Clifford Chance

62. Clifford Chance also represents PNS, Lynch and Yukos Finance (as

represented by Lynch and Reid) in the Dutch Yukos Finance Litigation and Deitz in the

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63. On March 11, 2016, Clifford Chance issued an invoice for services
rendered in the amount of €178,383.44 (Stipulation Exhibit 63/1). On March 14, 2016,
Kirwan part-paid this invoice in the amount of €27,700. At present, over QBs
owed to Clifford Chance in connection with its efforts on behalf of PNS.

Akin Guinp

64. Emile du Toit, a director of Kirwan, executed an engagement letter dated
October 13, 2015 with Akin Gump (Stipulation Exhibit 64/1) in connection with the
Section 1782 Proceedings commenced by Godfrey. Mr. du Toit alone signed the
engagement letter on behalf of Kirwan. There is no Kirwan board or shareholder
resolution approving the Akin engagement, and there was no Kirwan board or
shareholder meeting to consider the Akin engagement.

65. In a letter dated January 12, 2016 directed to Emile du Toit of Kirwan,
Akin Gump requested a retainer of $150,000 (Stipulation Exhibit 65/1). On January 19,
2016, $150,000 was wired to Akin Gump by Kirwan in response to the request for a
retainer.

66. Akin Gump issued an invoice to Kirwan for services rendered dated
November 4, 2015 in the amount of $90,037.30.

67. Akin Gump issued an invoice to Kirwan for services rendered dated

November 24, 2015 in the amount of QM and reflecting a total balance of

 

° See extract from Kirwan USD bank account with Banque Internationale 4 Luxembourg (Stipulation
Exhibit 65/2).

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QED This invoice (including the prior balance of QD due under the
November 4 invoice) was paid by Kirwan on December 30, 2015.4

68. Akin Gump issued an invoice to Kirwan for services rendered dated
January 12, 2016 in the amount of EB This invoice (along with the retainer of
$150,000) was paid by Kirwan on January 19, 2016.9

69. Akin Gump issued an invoice to Kirwan for services rendered dated
February 11, 2016 in the amount of $100,683.77 (Stipulation Exhibit 69/1). This invoice
has not been paid.

70. Akin Gump issued an invoice to Kirwan for services rendered dated.
March 7, 2016 in the amount of $61,093.49 and reflecting a total balance of $161,777.26
(Stipulation Exhibit 70/1). This invoice has not been paid.

71. On March 12, 2016, Sina Toussi, an employee of VRASL USA, requested
that Akin Gump issue an invoice for all unbilled amounts. Akin Gump issued an
invoice to Kirwan for services rendered dated March 14, 2016 in the amount of $12,753
and reflecting a total balance of $174,530.26 (Stipulation Exhibit 71 /1). This invoice has
not been paid.

72. Kirwan has not disputed the Akin Gump invoices. Nor has it passed a
resolution approving the invoices.

73. Akin Gump has not applied its retainer against any of the invoices it

issued to Kirwan.

 

4 See extract from Kirwan USD bank account with Banque Internationale a Luxembourg (Stipulation
Exhibit 67/1).
5 See extract from Kirwan USD bank account with Banque Internationale a Luxembourg (Stipulation
Exhibit 65/2).

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74, On April 25, 2016, Lynch sent a letter to Robert Pees of Akin Gump
(Stipulation Exhibit 74/1). Akin Gump responded to Lynch in a letter dated April 29,
2016 (Stipulation Exhibit 74/2). On May 5, 2016 Lynch sent another letter to Robert
Pees of Akin Gump (Stipulation Exhibit 74/3) in reply to his April 29, 2016 letter.

75. Before the Petition Date, invoices for the representation of Johnson, Deitz
and VR Capital in connection with the 2015 Section 1782 Proceedings were not
provided to Lynch by Lapidem, Mascini or VR Capital.

Mandel Bhandari

76. OnNovember 6, 2015, du Toit executed a Settlement, Cooperation, and
Retainer Agreement, dated November 6, 2015, with Daniel Feldman, a former director
and officer of companies controlled by the Yukos Foundation which purports to
represent the former Yukos Oil shareholders in the Yukos Finance Litigation
(Stipulation Exhibit 76/1). Du Toit alone signed the agreement on behalf of Kirwan.
There is no Kirwan board or shareholder resolution approving the Agreement, and.
there was no Kirwan board or shareholder meeting to consider the Agreement. Lynch
was not informed by Lapidem, Mascini or VR Capital of, and did not and does not
approve, the Agreement.

77. Pursuant to the terms of the Settlement, Cooperation, and Retainer
Agreement, on November 13, $100,000 was wired to Mandel Bhandari LLP (“Mandell
Bhandari”) from Kirwan as a retainer. Mandel Bhandari issued an invoice in the
amount of (EE on January 15, 2016 for services rendered. This invoice was paid
by Kirwan on February 12, 2016. This invoice was not provided to Lynch before the

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Petition Date. Kirwan has not disputed the Mandel Bhandari invoice. Nor has it
passed a resolution approving the invoice or the retainer payment.®
Amicorp
78.  Kirwan’s corporate services provider, Amicorp Luxembourg S.A.
(“Amicorp”), currently has outstanding invoices totaling approximately €25,000.” These
invoices have not been provided to Lynch by Lapidem, Mascini or VR Capital.
Kirwan Finances
79, On March 14, 2016, Kirwan had the following opening balances in its bank
accounts:
a. -€527.76 in its EUR account with the Bank of Cyprus (Stipulation Exhibit
79/1);
b. RUB 1,119.74 in its RUB account with the Bank of Cyprus (Stipulation
Exhibit 79/2);
c. $20.83 in its USD account with the Bank of Cyprus (Stipulation Exhibit
79/3);
d. €0.00 in its EUR account with Banque Internationale 4 Luxembourg
(‘BIL”) (Stipulation Exhibit 79/4); and
e. $31,286.60 in its USD account with BIL (Stipulation Exhibit 79/5).
80. As noted above, on the same date Kirwan paid €27,700 to Clifford Chance

in part payment of its invoice dated March 11, 2016 in the amount of €178,383.44. The

 

6 Nothing in this Stipulation is a waiver by Lynch of any objection to the validity of the engagement of
Akin Gump or Mandel Bhandari by Kirwan.
7 Stipulation Exhibits 78/1 and 78/2.

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payment was made out of Kirwan’s USD bank account with BIL. Including bank fees
and other charges, this payment reduced Kirwan’s balance in this bank account by
$31,060.89, resulting in a new balance of $225.71.8

81. The new balance of Kirwan’s USD account with BIL combined with the
balances in its other bank accounts identified above resulted in a negative net balance
(converted into USD) of -$325.70 on March 14, 2016.

82. As also noted above, and also on March 14, 2016, Akin Gump issued an.
invoice to Kirwan for services rendered in the amount of $12,753 and reflecting a total
balance of $174,530.26. As of the Petition Date, Akin Gump held and currently still
holds a retainer from Kirwan in the amount of $150,000.

83. As of March 14, 2016, Kirwan had insufficient funds to pay either the
€150,683.44 still outstanding under the Clifford Chance invoice dated March 11, 2016 or
the $174,530.26 outstanding under the Akin Gump invoices of February 11, March 7 and
March 14, 2016.

84.  Lapidem and Mascini did not demand repayment of any of their advances
to Kirwan before March 15, 2016. On that date, Lapidem and Mascini formally declared
an insolvency event and demanded repayment of the funds they had provided to
Kirwan (Stipulation Exhibit 84/1). Later that same day, Mascini and Lapidem filed the

petition commencing this case.

 

8 See extract from Kirwan USD bank account with Banque Internationale 4 Luxembourg (Stipulation
Exhibit 79/5).

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85. Prior to March 15, 2016, Lapidem and Mascini had stopped funding
Kirwan. As at March 15, 2016, Lapidem and Mascini refused to grant Kirwan
additional time in which to repay the funds provided to it by them. Kirwan has never
sought or considered financing from any source other than Lapidem and Mascini. As of
and before the Petition Date, Kirwan had no credit available from alternative sources.

86. Inthe course of the 2015 arbitration proceedings described below, on
March 17, 2015, Lapidem, Mascini, VRGP and Kirwan’s counsel, Dechert LLP
(“Dechert”), wrote to Lynch’s counsel at the time, McGuireWoods LLP
(“McGuireWoods”), regarding payment of PNS’s legal fees and alternative sources of
funding for PNS and Kirwan (Stipulation Exhibit 86/1). McGuireWoods responded to
Dechert on March 20, 2015 (Stipulation Exhibit 86/2).

87. On April 20, 2016, Lynch’s Luxembourg counsel, Jean Brucher, sent a
letter to Kirwan requesting information and documents relating to Kirwan’s insolvency
(Stipulation Exhibit 87/1).

Disputes among Lapidem, Mascini, and Lynch

88. Since 2010, Lynch has been the PNS General Director and before that, an
associate of his was the PNS General Director.

89. On September 3, 2014, Lynch began an arbitration at the London Court of
International Arbitration (the “LCIA”), seeking injunctive relief on the ground that
changes to the corporate governance structure of PNS proposed by the Kirwan Class A
and Class B directors would violate the SHA and an action in the Commercial Court in
London for interim injunctive relief.

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90.  InSeptember 2014, amendments to the Russian LLC law and the Russian
Civil Code authorized an LLC’s charter to empower several persons, acting jointly or
independently, to act for the LLC and authorized LLC participants to provide in the
LLC’s charter for a second sole executive body, which may act independently of the
initial sole executive body.

91. In October 2014, Kirwan’s Class A and Class B directors proposed
amendments to the PNS charter, to be voted on at a Kirwan board meeting November 5,
2014, to create a second sole executive authority, but did not discuss these amendments
with Lynch.

92. The parties entered into a Consent Order, dated September 18, 2014,
under which both the arbitration and the action were stayed on certain terms, including
that the proposed board resolution approving the proposed amendments to the PNS
charter would not be voted on (Stipulation Exhibit 92/1 (under seal)).

93, After unsuccessful discussions between VR Capital and Lynch, Kirwan’s
board approved a different revised PNS charter in November 2014, and Kirwan, as the
sole participant in PNS, approved the revised PNS charter in December 2014.

94. Lynch refused to implement and register the revised PNS charter,
claiming it breached Russian law and the SHA, contending that management of PNS
cannot be delegated to anyone but the General Director of PNS.

95. Kirwan’s Class A and Class B directors then proposed further changes to

the revised PNS charter to address the Russian law issues Lynch identified and

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proposed to approve such revised PNS charter at a February 1, 2015 Kirwan board
meeting.

96. On January 30, 2015, Lynch sought to revive the stayed arbitration,
serving an Amended Request for Arbitration, including a request for an injunction and
for the expedited formation of the tribunal.

97. The respondents in the arbitration, Lapidem, Mascini, VRGP and Kirwan,
agreed to expedited arbitration.

98. On July 13, 2015, the arbitrator issued a Final Award (Stipulation Exhibit
98/1). On August 13, 2015, the respondents filed a request for the correction of the
Final Award with the LCIA. Following submissions by both sides, on September 7,
2015, the arbitrator declined to accede to the application contained in the respondents’
request for correction.

99, In March 2010, Lynch amended the version of the PNS charter that was
executed contemporaneously with the SHA in August 2007 (the “2007 PNS Charter”)
without any authorization from Kirwan to do so. Lynch sent an email dated June 9,
2010 to Deitz and Reid regarding the PNS Charter (Stipulation Exhibit 99/1). Lynch did
not otherwise inform Kirwan’s board of directors, and did not obtain the Kirwan board
of directors’ approval, of the amendment. The 2010 version of the PNS Charter is
Stipulation Exhibits 99/2 and 99/3. During the course of the merits hearing in the
LCIA arbitration, Lynch attributed the amendment to a “back office error” at his
company, Monte-Valle. In July 2015, Kirwan amended the PNS charter (the “2015 PNS
Charter”) (Stipulation Exhibit 99/4). After the registration of the 2015 PNS Charter on

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July 30, 2015, Lynch and Deitz exchanged a number of emails between themselves and
other members of the board of directors of Kirwan and with Dutch counsel of PNS
regarding Kirwan and PNS corporate governance issues, including the management of
the Dutch Yukos Litigation (Stipulation Exhibits 99/5 and 99/6).

100. OnSeptember 1, 2015, Kirwan’s Class A and Class B directors adopted
shareholder resolutions. Lynch objected to these resolutions and negotiations ensued.

101. On October 21, 2015, Sina Toussi sent an email to Lynch regarding the
resolutions (Stipulation Exhibit 101/1). Email correspondence ensued. Lynch sent a
draft arbitration request dated November 2, 2015 to Lapidem, Mascini, Kirwan and
VRGP. On November 6, 2015, Lapidem, Mascini, and Kirwan withdrew the September
1, 2015 resolutions and the power of attorney (Stipulation Exhibits 101/2-101/13).

Settlement Discussions

 

102. In late 2014 and early 2015, discussions involving a third-party
intermediary to settle the Yukos Finance Litigation took place (Stipulation Exhibits
102/1 and 102/2).

103. On June 26, 2015, Godfrey sent an email (Stipulation Exhibit 103/1) to
Deitz containing proposed terms of settlement (Stipulation Exhibit 103/2) and a draft
settlement agreement. Lynch requested a copy of the draft settlement agreement, but
Deitz declined to provide it. Deitz participated in the discussions which culminated in
the settlement proposal being received from Godfrey on June 26, 2015 without

consulting or informing Lynch.

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104. Deitz rejected the June 26, 2015 settlement proposal by email to Godfrey
dated July 1, 2015 (Stipulation Exhibit 104/1). Godfrey replied to Deitz on July 2, 2015
(Stipulation Exhibit 104/1). On July 3, 2015 Deitz replied to Godfrey (Stipulation
Exhibit 104/1). Godfrey replied on July 10, 2015 (Stipulation Exhibit 104/1). On
August 14, 2015, Lynch met with Eric Wolf (“Wolf”), a representative of GML, and
expressed his opinion that a settlement of the Yukos Finance Litigation had to be
approved by the Shareholders of Kirwan and that only the general director of PNS
could validly represent PNS in settlement negotiations or bind it to a settlement. On
August 21, 2015, Lynch sent Deitz an email regarding his earlier discussion with Wolf,
to which Deitz responded the same day (Stipulation Exhibit 104/2).

105. On August 28, 2015, Lynch advised Deitz by email of a forthcoming
meeting with Yukos representatives the following week (Stipulation Exhibit 105/1).
Deitz replied to Lynch’s email on August 28 and 29 (Stipulation Exhibit 105/1). On
August 31, 2015, Lynch met with Wolf and then advised Deitz by telephone of the
contents of his meeting with Wolf.

106. Inan October 30, 2015 email, Lynch informed Deitz that he had hada
phone conversation with Godfrey in which they had agreed to touch base after the
latest ruling in the Glendale Litigation in the Netherlands due in November
(Stipulation Exhibit 106/1).

107. On November 2, 2015, Lynch sent a letter to a number of Yukos Oil

representatives and their lawyers regarding PNS&’s corporate authorities and directing

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the recipients to discuss a settlement of litigation involving PNS only with its general
director Lynch (Stipulation Exhibit 107/1).

108. On November 7 and 17, 2015 Lynch advised Deitz by email of a meeting
with Godfrey on November 24, 2015 and suggested that Lynch and Deitz have a
meeting beforehand (Stipulation Exhibits 108/1 & 108/2). When Deitz attempted to
restrain Lynch from having such discussions, Lynch rejected Deitz’s or VR Capital’s
right to interfere in any way with the general director's right to represent PNS.

109. On November 24, 2015, Lynch met with Godfrey in Singapore. Lynch has
never provided a written record of the discussions. Lynch called Deitz during the
meeting and advised him of the matters being discussed. When Deitz and Lynch could
not agree on strategy, Lynch ended the meeting. Later that day, Deitz asked Lynch via
email if he had had a second meeting with Godfrey (Stipulation Exhibit 109/1). Lynch
responded on November 25, 2015 that he had not (Stipulation Exhibit 109/17).

110. On December 16, 2015 Lynch had a telephone conversation with Wolf.
Lynch’s description of the conversation in an email to the members of Kirwan’s board
on December 17, 2015 is Stipulation Exhibit 110/1.

{11. On December 18, 2015, Godfrey made a new offer to Deitz to settle finally
and fully all litigation relating to Yukos Finance for $60 million. Lynch was copied on
the email containing the settlement offer.

112. On December 21, 2015, Deitz contacted Lynch about the settlement
proposal and suggested calling a Kirwan board of directors meeting (Stipulation Exhibit
1412/1). Lynch responded on the same date (Stipulation Exhibit 112/1).

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113. A second set of settlement talks occurred in late 2015 and in the first
quarter of 2016. Deitz discussed settlement with Wolf, purportedly reaching an
agreement on a settlement amount of $137.5 million.

114. Deitz undertook the second settlement efforts and meeting with Godfrey
without consulting or informing Lynch.

115. In late 2015 and early 2016, Lynch and Deitz communicated by telephone
and email about settlement talks (emails attached as Stipulation Exhibits 104/2, 105/1,
106/1, 108/1, 108/2, 109/1, 110/1, 112/1, 115/1-115/4).

116. On January 30, 2016, Wolf contacted Lynch and asked Lynch what would |
be his settlement number if Yukos were to settle with Lynch and Deitz separately. On
February 3, 2016, without consulting Deitz or the Kirwan board, Lynch replied to Wolf
that subject to the prior consent of Kirwan’s shareholders he would agree to a
settlement in which he as C Shareholder received $35 million.

117. On March 4, 2016, Lynch wrote to Mascini, Lapidem, Kirwan, and VRGP
(Stipulation Exhibit 117/1). The same day, Lynch sent a separate letter to GML and
Wolf (Stipulation Exhibit 117/2). Lynch’s letter to GML and Wolf was sent without
consulting Deitz or seeking authorization from Kirwan.

118. On March 9 and 15, 2016, Lynch received emails from Mr. Olaitan
Senbanjo, Class B Director of Kirwan and Deputy General Counsel of VR Advisory
Services Ltd., the general partner of VRGP, with attachments, in response to Lynch’s
March 4, 2016 letter (the emails and attachments are Stipulation Exhibits 118/1 and
118/ 2).

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The Filing of the Involuntary Bankruptcy Petition

119. Petitioners filed this chapter 11 bankruptcy case to enable them to
implement a resolution of the dispute over the Yukos Finance shares.
Kirwan Board Meetings and Decision-making

120. The board of directors of Kirwan has not met since June 30, 2015. Prior to
that, the board met and passed resolutions twice in 2015 and twice in 2014. The board
passed circular resolutions four times in 2010 and once in 2007. Some Kirwan decisions
were made by phone calls among some or all of the Kirwan directors without formal

board action.?

(Signature page follows.)

 

9 Nothing in this Stipulation is a waiver by Lynch of his objection to the validity of any action taken
without board approval.

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Dated: New York, New York
November fi ly 2016
Dated: New York, New York

November /6 , 2016

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JENNER & BLOCK LLP
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Attorneys for Petitioners
Case 1:17-cv-04339-CM Document 13-2 Filed 07/13/17

SHARE PURCHASE AGREEMENT

encumbered with the Admitted Dutch Creditors Attachments

Between

Mr E.K, Rebgun in his capacity as court appointed bankruptcy receiver of
QAO Yukos Oil Company

as Seller

and
Limited Liability Company "Promneftstroy"

as Purchaser

Relating to

the sale and purchase of the Shares together with the Rights pursuant to
the Auction

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THIS AGREEMENT is dated august 20, 2007 and made
BETWEEN:

1. Mr E.K. REBGUN in his capacity as court appointed bankruptcy receiver of OAO YUKOS OIL
COMPANY, a company in the Receivership Proceedings. incorporated under the laws of the
Russian Federation, having its registered office in Moscow, the Russian Federation, and

2. Limited Liability Company "Promneftstroy", a company incerporated under the laws of the
Russian Federation and having its registered office in Moscow and its office address at 19
Malaya Kaluzhskaya Street, Bldg. 1, Moscow, 117071, registered at the Unified State Register of
Legal Entities of Moscow Interdistrict Inspectorate No. 46 of the Federal Tax Service under Main
State Registration Nurnber 5077746429701, represented by Mr VITALY ELISEEV. its General
Director acting on the basis of the company’s Charter.

WHEREAS:

(A) On 28 March 2006 the Arbitrazh Court opened a bankruptcy case of Yukos.
Subsequently, on 1 August 2006 the Arbitrazh Court declared Yukos’ bankruptcy and
opened Receivership Proceedings, whereby the powers of Yukos’ management (in any
event in relation to the matters subject of this Agreement) were terminated and the
Receiver was appointed:

(B) Yukos is registered as the legal title holder of the Shares. No depository receipts are
issued:

(Cc) On and after 26 April 2005 the Banks have made a conservatory attachment
(conservatoir beslag) on the Shares to secure the Banks’ Claim. This conservatory
attachment on the Shares is by operation of applicable Dutch law converted inte an
executory attachment (executorial beslag) on 1 July 2005. Subsequently, on 15 July 2005
the Banks requested the Amsterdam Court to determine the terms and conditions and
manner of an executory sale of the Shares pursuant to section 474g of the DOCP, which
request is pending before the Amsterdam Court under court docket reference HA RK
05/568;

(D} The Banks have subsequently sold and transferred the Banks’ Claim and related claim
rights to Rosneft:

(E} On 20 April 2005 Moravel made a conservatory attachment (conservatoir beslag) on the
Shares to secure the Moravel Claim, which by operation of Dutch law was converted into
an executory attachment after Moravel obtained leave by the Amsterdam Court to enforce
the Moravel Claim. Subsequently, pursuant to section 474g of the DCCP Moravel
requested the Amsterdam Court to determine the terms and conditions and manner of an
executory sale of the Shares, which request is pending before the Arnsierdam Court
under court docket reference HA RK 06/0018.

TY

(F3 On 15 September 2005, a third (alleged) creditor of Yukos. YNG. made a conservatory
attachment (conservatoir besiag} on the Shares to secure the YNG Claim. Subsequently.
YNG merged into Rosneft and cansequently Rosneft prosecutes the YNG claim before
the Arnsterdam Court (io the extent sil necessary) A Dutch notarial deed of
acknowledgement was executed on 8 May 2007 whereby Yukos acknowledged the YNG
Claim up to an amount of sixty-two billlon three hundred and fifty-nine milien six hundred
and four thousand nine hundred and five Rubles and ninety-two hundredths

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(62.359,504 905.92) with interest amounting to twelve billion seven hundred and ninety-
six milion one hundred and sixty-nine thousand four hundred forty Rubles and forty-four
hundredths (12.796,169.440.44) and by which notarial deed Rosneft to that extent has
obtained an enforceable Ute which has enabled it to make an executory attachment on
the Shares in May 2007

Furthermore on or about 7 October 2005 YNG made a conservatory attachment on the
Yukes International Shares and on the Depository Receipts to secure a claim for
damages that would occur if and to the extent that the YNG Claim would remain unpaid,

On or after 19 April 2005 Yukos Finance transferred all of its transferable assets to Yukos
international as a capital contribution in exchange for a share premium and
simultaneously it transferred the Yukos international Shares to Stichting AK in exchange
for the Depository Receipts; this transfer gave rise to a claim for damages by Rosneft (as
successor to YNG) in relation to which claims Rosneft (YNG) made conservatory
attachments on the Yukos International Shares and on the Depositary Receipts.

Litigation between the Former Management vis-a-vis the Receiver and the Management
as regards the validity of the dismissal of the Former Management and consequently
whether the Management actually became the legal representatives of Yukas Finance, is
pending as of the Effective Date. Rt is argued by the Former Management that the
Receivership Proceedings do not take effect in the Netherlands, or at least that the
Receivership Proceedings should be denied any effect in the Netherlands.

Currently Yukos Finance is involved in litigation in the Netherlands in the following
matters:

 

“Sasa” “T’Parties Gause-list sumber |

and Court

 

EK. Rebgun GAO Yukos QO} Company, Yukos | 06/568, 06718 and |
Finance BY, STAK Yukos | 06/606

Intemational, Yukos investment Ltd.,
QAO Rosnel, OAO Yugansknellegaz | amsterdam Coun

 

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Godley and Misarnore

 

 

) Yukos finance WV. TMP Management BV

 

  

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It should be noted that on 24 May 2007 the Court of Appeal rendered a decision on an
appeal in summary proceedings (kort geding) on the matier that is the subject of the
ordinary proceeding 06/3612. The appellants (Former Management and Yukos Finance
allegedly represented by Former Management) may file an appeal with the Supreme
Court of the Netherlands (Hoge Raad},

(K) It should be noted that the Former Management continues to act as if they represent
Yukos Finance, notwithstanding the fact that they were dismissed by a shareholders
resolution made by Yukos on 11 August 2006 and that in doing so they in the above
cases allege that they (or counsel instructed by them) represent Yukos Finance.

(L} Yukos Finance may have an obligation to indemnify Management against all claims made
against them in relation to their conduct of business after 1 August 2006 and in relation to
the aforementioned litigation.

(M) The Management have filed unaudited statutory accounts of Yukos Finance for the year
ended 2005 without having been allowed access to information that would have enabled
them to review Yukos Finance's accounts.

(N) Having regard to the applicable Receivership Proceedings and the Atlachments Yukos
has pul the Yukos Finance Shares and the Rights up for sale by means of the Auction.

(0) The Purchaser has made the highest bid at the Auction and by doing so has bound itself
to execute this Agreement,

(P} The Seller and the Purchaser recognise that as a matter of Dutch law the rights of the
Admitted Dutch Creditors are not affected by the Auction, this Agreement and any
transaction arising therefrom.

HAVE AGREED AS FOLLOWS:

oe

Definitions

14 In this Agreement including the headings the capitalised terms shall have the meaning as
set out in this section:

| Admitted Claims /: | @ach and every claim indebted by Yukos to the |
claimant concerned, consisting of principal and, if |
applicable, Interest, for which an Attachment has |

| been made or will be made on the Shares and |

which has been or will eventually be declared |
admissible or which claim has been or will |
eventually be recognized in the distribution of the |
| Executory Sale Proceeds either by an agreement |
_made and which gives entitlement under section
480 (2) DCCP or by force of a judicial settlement |
_ (rangregeling) as meant in section 481 and any.

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section thereafter in the DCCP
_ Admitted Creditor > | any party who holds an Admitted Ciaim:
“Admitted Dutch Creditors |: | the Rosneft Attachment, the Moravel Attachment |
Altachments and the YNG Attachment severally as well as
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~ | jointly:

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“Agreement a

_Amsierdam Coun

this agreement including the recitais and the
Annexes:

“the District Court (Rechibank) at Amsterdam, the
Netherlands: i

 

Annex

any annex to this Agreement:

 

Arbitrazh Coun

the Arbitrazh Gourt of the City of Moscow

(Ap6uTparkHeta cya r. Mockeei) in Moscow, RF;

 

“Articles

“the articles of incarporation of Purchaser,

 

Attachment Proceeds

the Executory Sales Proceeds and all other
monies that have been and will be or must be paid
to the Bailiff pursuant to, due to or in connection
with the Attachments;

 

Attachments

the Admitted Dutch Creditors Attachments and any
subsequent conservatory or executary attachment
made in the Netherlands on the Shares by an
Admitted Creditor prior to the Executory Sale,

 

 

Auction

The open sale procedure to sell the Shares
conducted in accordance with the RF Law "On
Insolvency (bankruptcy}” and with the Auction
Terms;

 

Auction Terms

 

Bailiff

 

Bailiff's Fees

Banks

 

-any fees and disbursements thal wil
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The terms and conditions that apply to the Auction
as they have been approved by Yukos' creditors’ |
committee on July 13, 2007, and have been |
published in No. 151 (4414) of {he newspaper |
Rossiyskaya Gazeta on July 14, 2007: :
the bailiff (gerechisdeurwaarder), Mr G.:
Hoogkamer of Nistad & Toonen
Gerechisdeurwaarders in Amsterdam, the
Netherlands, who has made the attachment-
pursuant to which the Executory Sale Proceedings ,
have commenced or will commence thal will result |
in the Executory Sale of the Shares, or his |
successor or any other bailiff to whom the |
Allachments Proceeds must be paid pursuant to
the DCCP or to the Court Order

  

se charged |
he Executory Sale

 

by tne Baniff in connection with
Proceedings.

BNP Paribas S.A.. Citibank NA. Commerzbank

AG, Calyon S.A. Deutsche Bank AG, ING Bank
NV. Societé Génerale SA. KBC Bank NV

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‘Banks’ Clam

Bank Of Tekyo-Mitsubishi UFJ (Holland) N.V.,
Hillside Apax Fund Limited, Thamas River
Traditional Funds PLC, VR Global Partners LP,
Shepherd investments international Limited and
Stark Trading;

 

a claim made by the Banks vis-a-vis Yukos for
payment of a principal amount of US%
472,887,663.10 plus accruing Interest and costs
which has been assigned to Rosneft:

 

Compensation

A fixed amount that is equal to the amount of the
Security Deposit and that cannot be reduced;

 

 

‘Completion Date

Court Order

The 10° working day after the date that the Seller
sends the Payment Confirmation;

 

“| a court order issued by a Dutch court whereby the

sale and means of a sale of the Shares is ordered
pursuant to the Executery Sale Proceedings which
order has become final (in the absence of an
appeal or following an appeal proceeding before a
Court of Appeal (Gerechishof) or cassation
proceeding before the High Court of Justice (Hoge
Raad der Nederlanden), "

 

/DCCP

the Dutch Civil Code (Burgerlik Wetboek) as in
force at the date of this Agreement,

 

‘the Dutch Gode of Civil Procedure (Welboek van

Burgerliike Rechtsvardering) as in force al the date
of the Deed of Transfer:

 

 

» Dividends

Deed of Transfer :

sens eneneanctnnea ne eemenncee teeacentnies wine ete te eet ie ne pene etc be

Depository Receipts — i

the notarial deed of transfer of the Shares.
pursuant to this Agreement in the form as attached
to this Agreement as Annex 1;

 

any and all depository receipts (certificaten van |
aandelen) that have been issued by Stichting AK |
| in exchange for the Yukos International Shares;

“F (i) all dividends, interest or other income (including, |

without limitation, any share premium called) paid |
of payable in respect of the Shares, ti) all stocks |
shares, rights, securities or other assets accruing |
or offered at any time (by way cf redemption, |
bonus. preference, option nights, or othenvise) in)
respect of the Shares. (i) all dividends, interest or ,
other income in respect of any asset referred to .
Dunder (i), and (iv) all proceeds in respect of the :
Shares on the dissolution or liquidatian of Yukos |
. Finance,

 

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' Dutch Notary

the civiaw notary (notaris) in the Netherlands |

before whom the parties will execute the Deed of |
Transfer;

 

"Effective Date

- Executory Sale

_ Executory Sale Proceedings

the date of this Agreement.

 

the executory sale and transfer of the Shares as a
consequence of the Court Order: :

 

‘the proceedings pursuant to section 474g OCCP_

pending before the Amsterdam Court on the ,
Effective Date under court docket references HA |
RK 05-0568 and HA RK 06-0018; and any similar
proceedings commenced by an Admitted Creditor
prior to an Executory Sale:

 

Executory Sale Proceeds

the proceeds of the sale of the Shares pursuant to |
the Executory Sale Proceedings including the
Dividends that have become payable pending the |
Attachments:

 

' Former Management

Mr. D.A. Godfrey and Mr. B. K. Misamore,
dismissed as directors of Yukos Finance pursuant |
to a resolution of the general meeting of .
shareholders of Yukos Finance of 11 August 2006: |

 

Interest —

(Management

Moravel

the agreed and/or statutory interest due on.
outstanding amounts of debt(s) of Yukos to the»
claimant concerned and vice versa, up to the |
Effective Date:

 

Mr. $8.5. Shmelkov and Mr. LJ. Hogerbrugge in _
their capacity of directors of Yukos Finance, as |
appointed by a resolution of the meeting of |
shareholders of Yukos Finance on 14 August 2008 °
and 30 August 2006 respectively:

 

~Moravel Ailachment

 

 

Moravel Investments Limited, a company
incorporated under the laws of Cyprus and having |
its office at Limassol, Cyprus: :

 

a conservatory allachment (conservator beslag)
on the Shares which Moravel has made as from |
the twentieth day of April two thousand five to |
secure the Moravel Claim which consarvatary |
attachment by operation of law is converted into an |
executory allachment (execulorial besiag) on the |
Shares; subsequently. pursuant to section 474g of

tne DCCP Morave! requested the Court in:
Amsterdam to determine the terms and conditions |
and manner of an execulory sale of the Shares. |
which request is pending before the Amsterdam -
Cour under court docket reference HA RK

 

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“06/0018;

 

Moravel Claim ~~ Ta claim made by Moravel vis-a-vis Yukos for
payment of a principal amount of US$
655,725,238.60 plus USS 5.445,541.50 accrued
interest as of 5 April 2005 plus accruing Interest |

 

 

 

 

and costs:
Party “TST the Seller and the Purchaser, - ee
Payment Confirmation - a registered letter or a telefax (1 the receipt of which |

has been confirmed by the Seller) that the Seller
will send to the Purchaser confirming that the
Purchase Price has been paid and received in full,

 

 

Payment Date “TThe earlier of the date that the Seller sends the
Payment Confirmation and the 14" calendar day
after the Effective Date and if that date is not a
working day, the first working day thereafter,
Purchase Price ~The non-refundable aggregate amount of seven
billion eight hundred thirty-eight million three
hundred and sixty-one thousand
(7,838,36 1,000.00) Russian Rubles that the Seller
must pay as per the Auction Terms as is
avidenced by the protocol of the results of the
Auction:

 

 

 

Purchaser ~~ The party who has made the highest bid for the
purchase of the Shares as !s evidenced by the
protocol of the results of the Auction, being Limited
Liability Company “Promneftstroy”, a company
incorporated under the laws of the Russian
Federation and having its registered office in
Moscow and its office address at 19 Malaya
Kaluzhskaya Street, Bidg. 1, Moscow, 117074,
registered at the Unified State Register of Legal
Entities of Moscow Interdistrict inspectorate No. 46
of the Federal Tax Service under Main State
Registration Number 5077746429701,

 

all existing or future costs, fees, taxes (including
any taxes which are required to be withheld by or:
on behalf of Purchaser from payments made by or:
on behalf Purchaser) and disbursements incurred —
by or on behalf of the Purchaser resulting from |
(implementing) the Deed of Transfer and from:
/ holding and managing the Snares and all costs.
_fees, taxes and disbursements mourred in any:
litigation, including but not limited to the Executory :
Sale Proceedings, or other activities:

 

 

Purchaser Costs

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: Receiver

Mr. E.K, Rebgun in his capacity a court appointed :
| bankruptey receiver Conny perieit YOPABNAUINY) .
of Yukos, appointed by the Arbitrazh Court in|

Moscow on 1 August 2006,

 

Raeceivership Proceedings

“the receivership proceedings  (KoKKypcxoe |

1 August 2006 as is evidenced by a judgment

-npovasogetso) that have been opened by a:
‘decision of the Moscow Arbitrazh Court on

dated 4 August 2006 with case number!
A 40-11836/06-88-35, and extended by a ruling of ;
the Moscow Arbitrazh Court on 7 August 2007 as |

is evidenced by a judgment dated 8 August 2007,

 

RF

the Russian Federation:

 

Rights

“Rosneft

 

the Surplus and all rights in relation thereto, the
rights to declare, demand and collect dividends

that are not included in the Shares and all claim)
rights and litigation rights - including but not |
limited to the right te bring actions before the .

applicable forum and any and all rights of Seller
vis-a-vis Stichting AK and Yukos International and

its current and former directors and the Former |
Management which Seller under Dutch or any |
other applicable laws has and will have and may |

bring as a consequence of or in connection with

the transfer of all of Yukos Finance's transferable
assets to Yukos international as a capital
contribution in exchange for a share premium and
the simultaneous transfer of the  Yukos
international Shares to Stichting AK in exchange

for the Depository Receipts in or around April,

2005;

OAO Rosneft. a company incorporated under the
laws of the RF, having its office in Moscow, RF,

 

“Rosneft Atachment

 

 

 

@ conservatory attachment (conservaloir beslag)
on the Shares which the Banks have made as :

from the twenty-sixth day of April two thousand five

to secure the Banks Claim which conservatory .

attachment by operation of law is converted into an
executory allachment (execulorai Sesiag) on the
Shares on the first day of July two thousand five:

subsequently, pursuant to section 474g of tne.

DCCP, the Banks requested the Anmisterdam Court

to determine the terms and conditions and manner
of an execulory sale of the Shares which request
is pending before the Amsterdam Court under

rage

 

court dockat reference HA RK 05/568) the Banks

have subsequently sold and assigned their claim

Land claim rights to Rosneft_and_Rosneft_now

 

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“Security Deposit

prosecutes the request filed by the Banks;

million six hundred seventy-two thousand and two
hundred (1,519,672,200.00) Russian Rubles that
the Purchaser has paid to the Seller prior to the
Auction as per the Auction Terms and that shail
serve (i) either as partial and irrevocable payment
of the Purchase Price in the event that the Seller
has received payment of the entire Purchase Price
as per section 2.4 of this Agreement or (i) as an
irrevocable payment of the Compensation in case
this Agreement is cancelled pursuant to section &
of this Agreement:

|The amount of one billion five hundred nineteen |

 

Seller

the Receiver.

 

Set Off

the set off of mutual obligations to pay a debt and
to enforce the payment of a claim

 

“Shares

 

any and all of the shares that have been issued
and outstanding in the capital of Yukos Finance
B.V., numbered 1 up to and including 242.399,
gach having a par value of one thousand euro
(EUR 1,000) and the Dividends:

 

 

' Stichting AK

Stichting Administratiekantoor Yukos international, |

a Dutch foundation (sfichting) and legal entity |

(rechtspersoon), incorporated under the laws of
the Netherlands and having its registered office in
Amsterdam, the Netherlands, and its office

address at Locatellikade 1, Parnassustoren, in}

(NL-1076 AZ) Amsterdam, registered al the
Commercial Register of the Chamber of
Commerce in Amsterdam under fille number
34224823,

 

 

' Subsidiary Dividends

 

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() all dividends, interest or other income (including, |

without limitation, any share premium called) paid |
of payable in respect of the Yukos International |
Shares and the Depository Receipts or in respect |
of any other shares held in any and all subsidiary »

or other company directly or indirectly owned by
Yukos Finance and/or by Yukaos International (1) all

stocks. shares, rights, securities or other assets |

_accruing or offered ai any time (by way of

redemption, bonus. preference option mghts. or
otherwise) in respect of the Yukos international
Shares and the Depository Receipts or in respect
of any other shares heid in any and all si

 

 

 

dividends, interest or other 3

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sidiary |
ior other company direcily or indirectly owned by

| Yukos Finance and/or Yukos Inlernational, (i)
! come in respect, of
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any asset referred to under (1), and (iy) all
proceeds in respect of the Yukos international
Shares and/or the Depository Recaipts on the
dissolution or liquidation of Stichting AK and/or of
Yukos International: :

 

Surplus _ ~~) The Attachment Proceeds that will remain after the
payments on the Admitted Claims and the Bailff's
Fees on account of the Attachments.

 

YNG -~Viformerly prior to its merger with Rosneft) OAO
Yuganskneftegaz, a company incorporated under
the laws of RF and having its registered office in’
Nefteyugansk, RF:

 

 

YNG Attachment - | a conservatory attachment (conservatoir besiag) |
on the Shares which YNG has made as from the |
fifteenth day of September two thousand five to |
secure the YNG Claim, subsequently. YNG |
merged into Rosneft and consequently Rosneft |
prosecutes the YNG claim before the Amsterdam |
Court: as well as an executory attachment |
(execuloriaal beslag) which Rosneft as successor
to YNG made on the Shares on May 2007—
pursuant to a notarial deed of acknowledgement |
dated 8 May 2007 by which the YNG Claim was ,
acknowledged by Yukos; :

 

a claim made by YNG vis-a-vis Yukos (as
prosecuted by Rosneft after its merger with YNG)
pending before the Amsterdam Court an the
Effective Date under court docket reference HA
RK 05/3611 and the same claim made by Rosneft
as legal successor to YNG pursuant to a deed of |
acknowledgement made between Yukos and
Rosneft in relation to the above claim which deed
was executed before a Dutch notary and in which
Yukos acknowledged this claim up to an amount of
sixty-two billion three hundred and fifty-nine million
six hundred and four thousand nine hundred and
five Rubles and ninety-two hundredths
(62,359,604,905.92) with interest amounting to
' twelve billion seven hundred and ninety-six million
‘ one hundred and sixty-nine thousand four hundred
‘forty Rubles and forty-four hundredths
_ (412,796, 169,446.44);

YNG Claim

 

 

 

 

Yukos "| OAQ  Yukos Oi Company, a- ‘compary -
: : - incorporated under the laws of the RF, having Hs |
: registered office in Moscow, RF;

  

inance - © Yukos Finance B.V.. a limted hability company |
_incorporated under the laws of the Netherlands

 

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"| and having its registered office in Amsterdam. the.
' Netherlands, and its office address at Jan van
' Goyenkade 13 in (NL-1075 HP) Amsterdam, the

Amsterdam under file number 34107730.

 

 

Netherlands, registered at the Commercial |
Register of the Chamber of Commerce in!

“Yukos Finance Ob! igations oS /any “obligation by Yukos Finance to. pay its:
liabilities:
' Yukos international =—=~—~—S=S*«~SSs«Yukos Iniernational UK BV. a jimited liability _

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|
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Amsterdam, the Netherlands, and tts office
address at Jan van Goyenkade 13 in (NL-

/ company incorporated under the laws of the :
» Netherlands, having its registered office in

: 1075 HP) Amsterdam, registered at the»

Commerce in Amsterdam under file number

 

 

Commercial Register of the Chamber of

34109466;
'Yukos International Shares >| The entire issued share capital of” “Yukos
international:
-Yukos Obligations : 4 Any obligation by Yukos to pay the Admitted

i Claims or any other obligation.

 

 

 

in this Agreement, clause headings are inserted for convenience purposes only. They
shall not affect the construction of this Agreement. In this Agreement, a reference to a
clause is a reference to a clause of the actual agreement (not including the Annexes)

Unless the context requires otherwise, words denoting the singular number shall include
the plural and vice versa. References to the Parties shall also include references to their
legal successors.

Unless indicated or evidently intended otherwise, references in the masculine form shail
include the feminine and neutral form and vice versa.

in case of conflict between or inconsistency of the provisions of this actual agreement and
the contents of the Schedules or Annexes, the provisions of the actual agreement shall
prevail.

In case of conflict between Dutch and Russian legal concepts mentioned between

brackets and/or in italics in this Agreement and the English transiation thereof as used in

this Agreement, the Dutch or Russian text, as the case may be, and its meaning thereof

under Dutch or RF law, will prevail
Sale, Purchase, Payment and Transfer

The Seller sells the Shares together with the Rights to the Purchaser, who purchases the
Shares together with the Rights subject te the terms and conditions of this Agreement

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The Shares and the Rights shall be for the risk and account of Purchaser as of the
Payment Date.

The Seller shail transfer the Shares as they are on the Compiction Date to the Purchaser
and subject to the Attachments.

As a consideration for the Shares and for the Rights the Purchaser shall pay the
Purchase Price to the Seller as per the Auction Terms.

The Purchaser shall on the Payment Date irrevocably pay the entire Purchase Price
denominated in Russian Rubles by means of wire transfer of the Purchase Price
deducted solely by the amount of the Security Deposit to the following account (details of
the account are provided below in Russian):

Monyyatene: OAO "HK fOKOC"
VHH/KN 8604010486/997 150001
PacueTHbit CueT 407028 10100000003814
8 AB «PASMPOMBAHK» (3A0) r. Mocxsa
Kopp, Cyer 30101810200000000823

BUK 044525823.

The Seller shall as soon as it has irrevocably received the abovementioned payment send
the Payment Confirmation to the Purchaser.

The Purchaser shail deliver to the Dutch Notary at least 72 hours prior fo the Completion
Date all documents that the Dutch Notary shall reasonably require to execute the Deed of
Transfer, such as (but not necessarily limited to) documents evidencing the existence and
identity of the Purchaser and its representatives. and the authority of the Purchaser and
the powers of its representatives to enter into this Agreement and the Deed of Transfer
supported by a legal opinion of a reputable RF law firm.

Subject to the full payment of the Purchase Price on the Completion Date the Seller shall
transfer the Shares and the Rights to Purchaser and Purchaser will accapt the same from
Seller, by means of execution of the Deed of Transfer before the Dutch Notary.

The transfer of the Shares must be perfected by the notice of the transfer of the Shares
that will be serviced by a Dutch bailiff to Yukos Finance pursuant to article 196b (3) in
conjunction with article 19Ga (1) Book 2 DCC. The Parties shall instruct Yukos Finance to
enter the transfer in the shareholders’ register in such manner that it reflects that the
transfer is made subject to the Admitted Dutch Creditors Attachments.

The Seller shall give notice of the transfer of the Shares and of the Rights to the
Amsterdam Court and to the Bailiff in writing. A copy of the notice will be provided to the
Purchaser,

The Seller will immediately prior te the transfer of the Shares adopt a shareholders’
resolution as sole shareholder to discharge (kwijlen) the Management of its Wabilities in
relation {co the performance of ifs duties for the period starting 11 A 8 and ending

 

on the Complelion Date. The Purchaser shall be bound by this discharge (kvwijting) and
shall notin any manner seek or procure the voidance of that resolution. immediately after
thal discharge the Purchaser shall have the right to appoint its own management in Yukos
Finance.

No Warranties by Seller

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3.2

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The Shares and the Rights are transferred “as is where is” (voetstoots) and the Seller with
the consent of the Purchaser shall not make any representations and warranties to the
Purchaser in relation to the Deed of Transfer, the Shares and the Rights, Yukos Finance
or the Management,

The Purchaser acknowledges that the Shares and the Rights are sold pursuant to the
Auction and that the Seller is not required to provide the Purchaser with any information
beyond the scope of the Auction Terms. Purchaser waives any right to require that the
Seller shall provide additional information in relation to the Shares, the Rights and Yukos
Finance

The Seller shall not be liable vis-a-vis the Purchaser for any losses and damages incurred
by the Purchaser as a result of this Agreement or the execution of tha Deed of Transfer

No assumption of Obligations

The Purchaser shall not pursuant to this Agreement or pursuant to the Deed of Transfer
assume any of Yukos Obligations or Yukos Finance Obligations.

Upstreaming of Dividends and the Attachments

 

The Shares are transferred subject to the Attachments and are encumbered with the
Admitted Dutch Creditors Attachments.

For as long as the Atlachments encumber the Shares and uniil the Shares are sold elther
(@) by means of the Executory Sale or (i) by means of a private sale Initiated by the
Purchaser in the event that the Executery Sale Proceedings terminate without a Court
Order

(A) the Purchaser will ensure that Yukos Finance pay to the Bailiff all Dividends (if
any) from all Subsidiary Dividends it is to receive from Stichting AK and/or to be
received via the Stichting AK or on the basis of a court order from Yukos
International or from any other subsidiary, reduced by any tax withheld, levied,
assessed or charged (or to be withheld, levied, assessed or charged) in respect of
such Dividends and Subsidiary Dividends, and by the Yukos Finance Obligations,
and increased by any refund of taxes if and when received by Yukos Finance, and
reduced by any (other) Yukos Finance Obligation, subject to and in compliance
with applicable Dutch Company Law;

(B) ine Purchaser shail adopt ail the shareholder's resolutions in relation to the Shares
to enable Yukos Finance to approve and to make the payments as contemplated
in clause 5.2 (A) and shall not collect any Dividend for the duration of the
Atlacnments to the detriment of the Admitted Creditors. If pending the
Attachments the Purchaser shall receive a Dividend, the Purchaser shall pay
forthwith such dividend to the Bailiff

{C) the Purchaser shall comply with any order by the Amsterdam Court (or other
competent Dutch court) in relation to the Attachments without prejucice to any of
ine Purchaser's rights to seek such orders or appeal such orders:

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for the duration of the Attachments the Purchaser shall not sell or encumber the
nares without stipulating from the counterparty to such a transaction that it shail
ily Observe the terms and conditions of this Agreement and shall not sell or
transfer the Shares in a manner that would lessen the value or number of Shares.

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The obligations of the Purchaser under this section 5 create a stipulation (bedding) made
by the Seller on its own behalf and on behalf and to the benefit of (ten behoeve van) the
Admitted Creditors.

Costs

The Purchaser shall pay all of the Purchaser Costs and shall pay the costs of the
(execution of} the Deed of Transfer and the notice thereof ta Yukos Finance and shail
make any deposit as a security for the costs of the Deed of Transfer and the notice
thereof upon the first request by the Seller or by the Dutch Notary.

Nothing in this Agreement or in the Deed of Transfer shall limit the right of Yukos Finance
to pay the costs incurred by the Management in relation to this Agreement, the Deed of
Transfer and in relation of the Executory Sales Proceedings and any other litigation in
relation to the Shares, the Rights, the Management, the Former Management and the
Receivership Proceedings, which costs are deemed included in the Yukos Finance
Obligations.

Waiver of dissolution and annulment

Each of the Parties shall in the Deed of Transfer waive its right to bring an action to
dissolve this Agreement (ontbinding) or to annul this Agreement (vernietiging) as from the
moment of execution, which waiver is irrevocably accepted by each of the Parties.

Each of the Parties hereby waives its right to set-off (verrekenen) any claim against
another Party with an amount due under this Agreement to another Party, which waiver is
irevocably accepted by each of the Parties.

Term and Termination

 

This Agreement shall be cancelled without any notice or action being required by either
Party i the Seller has not received the Purchase Price in full on the Payment Date as
stipulated in section 2.4 of this Agreement, save for the following:

(A) if this Agreement is cancelled pursuant to this section of the Agreement, the
Purchaser shall pay without any right of deduction (vermindering) suspension
(apschorting of uilstel or set-off (verrekening) the Compensation to the Seller and
the Seller shall at any time have the irrevocable and immediate right to collect the
Compensation by means of set-off (verrekening) or otherwise from the Security
Deposit;

{B) the Purchaser shall not seek a reduction or annulment of the Compensation:

iC} the Seller shall not be entitled to claim any other amount from the Purchaser in
relation to the cancellation of this Agreement than the Compensation:

(D) ihis section 8.1 and the sections 16 and 17 will survive cancellation of the
greement in case any dispute would arise between the Parties in relation to the
cancellation itself,

  

This Agreement can not in whole or in part be terminated (worden opgezegu of
onlbonden) by a Party unless by written agreement made by all the Parties

Lis tne Partes’ explicit desire and intent that transfer of the Shares that will be made in

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the Deed of Transfer shall not be determined as an evasion (onttrexking aan) of the
Shares from the Admitted Dutch Creditors Attachrnents. The Partles believe that the
contemplated transfer of the Shares under this Agreement is not an evasion of the
Shares, since (i) the Admitted Dutch Creditors Attachments as made by the Bailiif remain
in full force and effect and (il) the rights of the Admitted Dutch Creditors in relation to the
Shares and the Attachments will be respected in full as stipulated in article 474e DCCP
and {iii) the Shares will continue to be in the Netherlands in the place of the registered
seat of Yukos Finance and (iv) Yukos Finance will upon notice of the Wansfer be
instructed to enter the transfer in the shareholders’ register such that it is subject to the
Admitted Dutch Creditors Attachments and (v)} the transfer of the Shares wil] be served by
means of a notice thereof to Yukos Finance (by a bailiff, which notice will explicitly clarify
the unaffected continuation of the Admitted Dutch Creditor Attachments, and (vi) a copy
of this Agreement and of the Deed of Transfer and of this notice shail be submitted to the
Amsterdam Court in the Executory Sales Proceedings and to the Bailiff, and (vii) the
value or number of the Shares will not decrease as a result of this Agreement or of the
Deed of Transfer.

if a Dutch competent court in a final decision in which the Purchaser is or may be a party
would have determined that the transfer of the Shares must be regarded as an evasion of
the Shares, then (i) the Shares will not be deemed to have been transferred under the
Deed of Transfer, {ji) the Purchase Price will be deemed to have been given in full
consideration for the sale and transfer of the Rights and (ill) the Purchaser shall not be
entitled to any repayment of the Purchase Price or any part thereof or of any Purchaser
Costs.

Third parties

This Agreement shall only be binding upon and inure to the benefit of and be enforceable
by the Parties and shall not in any manner prejudice the rights of the Admitted Creditors
in relation to the Shares and the Aitachments.

Assignment

The rights and obligations of the Purchaser created hereby may not be assigned by the
Purchaser to a third party until after the Completion Date; thereafter the Purchaser cannot
assign these rights and obligations unless he has received a prior written confirmation by
the assignee that the assignee will observe the terms and conditions of this Agreement as
if the assignee were the Purchaser

Exclusion
The Parties acknowledge that the provisions of this Agreement and of the Deed of
Transfer shail derogate to and exclude the applicability of the provisions of title 1 of book

7 of the DCC.

Partial Invalidity

 

established to be non-binding, the other clauses of this Agreement and of th
' tin
with other clauses that are binding, in such a way that the new clauses differ as ite as

ossible from the non-binding clauses. taking into account the object and the purpose of
this Agreement

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With reference to the provisions of the Code of Conduct (Verortiening Beroaps- en
Gedragsregei/s) as determined by the general meeting of the Royal Notarial Association
(Koninklijke Notariéle Beroepsorganisatie), the Purchaser will through execution of the
Deed of Transfer explicitly declare its consent to the fact that the Seller and Purchaser
may be assisted by a Dutch Notary who is a member of the law firm that is involved in
matters relating to Yukos. the Receivership Proceedings, Yukos Finance, Management, or
any of its subsidiaries or relating to this Agreement and agrees to waive any and ail
potential conflicts arising therefrom,

The Dutch Notary shall not in any manner be liable for any delay in the execution of the
Deed of Transfer unless resulting from gross negligence on his part.

Indemnification

The Purchaser hereby irrevocably and unconditionally and severally undertakes to
indemnify the Receiver and the lawyers (advocaten), civil- law notaries ((kandidaai-
Jnolarissen) and/or tax advisers who advised the Seller in relation to this Agreement and
to the Deed of Transfer against all costs, claims, expenses and liabilities in whatever
mariner incurred by or asserted against them as a result of the drafting and execution of
this Agreement and the Deed of Transfer, except with respect to conduct that is deemed
or held to be gross negligence or wilful misconduct by the Arbitrazh Court,

Lanquage

This Agreement is made and shall be executed in both an original in the English language
and an original in the Russian language. In case any difference would be found in the
meaning of words or based on a different interpretation of words and sentences in each
language, the meaning of and the interpretation based on the English language original
shall prevail, except for the terms in Russian or in Dutch used herein.

Notices

Ail announcements or notices to the Partles will be done in writing or by telecopy (bul in
case of a telecopy immediately confirmed in writing by the receiving Party) to the following
address:

(A) To Seiler

Name . Bankruptcy Receiver of QAO Yukos Oil Campany
Far the attention of — > Mr. EK. Rebgun in his capacity as Bankruptcy Receiver of

OAO Yukos OH Company

Address 3 gvenigorodskoye Shosse, Moscow. 1223242
Location "3 Zvenigorodskoye Shosse, Moscow, 123242
Country / Russia
Fax number » {47 AG5) 254-87-83
{B} To Purchaser
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Name . Limited Liability Company “Promnefistroy”
for the afiention of / Mr. VM. Eliseev in his capacity as General Director
Address - 19 Malaya Kaluzhskaya Street, Bidg. 1, Moscow, 177071
Location - 19 Malaya Kaluzhskaya Street, Bidg, 1, Moscow, 117074
Country : Russia
Pax number . {+7 485) $33-06-80

1? Governing law and Jurisdiction

 

47.4. This Agreement and the Deed of Transfer and all transactions contemplated herein shall
be exclusively governed by laws of the Netherlands.

17.2 All disputes arising out of or in connection with this Agreement or further agreements
resulting therea!, shall be settled exclusively by the Arbitrazn Court unless the Parties
agree otherwise In wriling.

17.4. An Admitted Creditor whe has accepted the stipulation on its behalf under section 5.3 may
opt to submit any action under this Agreement to elther the Court mentioned under 17.2 or
ihe Court in which jurisdiction the Purchaser has ils registered seal.

In winess whereof this Agreement has been executed by the Parties hereto and entered into the

day and year frst abov

    

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For the Seller

“Tyne

  

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Shareholder's resolution

(appointment (benoeming) of directors (bestuurders))

THE UNDERSIGNED:

Open Joint Stock Company Yukos Oil Company (the "Shareholder’), a legal entity established
and existing under the laws of the Russian Federation, with its registered office and principal
place of business located at 17 Dubininskaya St. Moscow 115054, Russian Federation, and duly
represented by Mr. Eduard K. Rebgun, acting as court appointed insolvency officeholder in the
bankruptcy of the Shareholder,

WHEREAS:

1.

the Shareholder is the holder of the entire issued and outstanding capital of Yukos
Finance B.V. (the "Company"), a private company with limited liability (besloten
vennootschap met beperkte aansprakelijkheid), with its registered office in Amsterdam
and its business office at Jan van Goyenkade 13, 1075 HP Amsterdam, the Netherlands,
registered at the Commercial Register of the Chamber of Commerce and Industry in
Amsterdam under file number 34107730;

none of the shares in the issued share capital of the Company are encumbered with a
right of usufruct or a right of pledge;

no depository receipts for shares in the issued share capital of the Company have been
issued with the co-operation of the Company;

pursuant to the provisions of article 20 of the articles of association of the Company,
resolutions can be validly adopted outside a meeting;

by a Share Purchase Agreement dated 20 August 2007 (the “SPA”) between Mr. Eduard
K. Rebgun, acting as court appointed insolvency officeholder in the bankruptcy of the
Shareholder as seller and Promneftstroy (the “Purchaser’), the seller has sold his entire
shareholding in the Company to the Purchaser and has agreed to transfer the shares in
the Company subject to the terms and conditions of the SPA;

currently the Company has no acting directors and the Shareholder wants to appoint new
directors; the Purchaser agrees to this resolution by the Shareholder whereby the
Shareholder appoints the following individuals as the Company's directors prior to the
transfer of the shares in the Company to the Purchaser. The Purchaser will sign this
resolution to confirm his agreement;

the appointed directors will sign this resolution to confirm their acceptance of the
appointments;

HEREBY RESOLVES:

1.

VL

to appoint Mr. Stephen Patrick Lynch, residing in 1 Tamanskaya UI/5, Moscow, Russian
Federation, born in New York (NY), United States of America, on the twenty-third day of
January nineteen hundred sixty-seven, holder of a passport of the United States of
America with number 711471383 as Managing Director of the Company effective 10
September 2007 at 10 AM CET;

to appoint Mr. Robert Reid residing in 22 Voznesensky Pereulok, Moscow, born in
England on the twelfth day of November 1973, holder of holder of a passport of the United
Kingdom with number 761075889 as Managing Director of the Company effective

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10 September 2007 at 10 AM CET;

3. that both Mr. Lynch and Mr. Reid each individually shall be authorized to on behalf of the
Company file the required entries of these appointments in the trade register
(Handelsregister) of the Chamber of Commerce (Kamer van Koophandel);

4, that having regard to section 2:256 of the Dutch Civil Code both Mr. Lynch and Mr. Reid
shall be permitted to on behalf of the Company acknowledge the transfer of shares in the
Company to the Purchaser as agreed in the SPA provided that the Attachments (as
defined in the SPA) shall remain wholly unaffected thereby;

Signed in the place and on the date and time as mentioned below the signatures.

Re

The Shareholder: OAO Yukos Oil Company duly represented by E.K.
Rebgun, acting in said capacity

 

 

Promneftstroy duly represented by Mr. Stephen
Patrick Lynch as its attorney in fact

 

 

Stephen Patrick Lynch pro se

LI {,—

Mr. [Reid] pro se

 

Place: Amsterdam, the Netherlands
Date: 10 September 2007
Time: HAS hours AM CET (prior to the transfer of shares

to the Purchaser pursuant to the SPA)

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Deed of transfer of the
Shares subject to the At-
tachments and of the
Rights

by

Mr E.K. Rebgun in his capacity of court appointed bankruptcy receiver of

OAO Yukos Oil Company

as Seller

to

Promneftstroy

as Purchaser

Relating to the shares in the capital of:

Yukos Finance B.V.

with registered office in Amsterdam, the Netherlands

Simmons & Simmons

PO Box 79023 1070 NB Zuidplein 100 1077 XV Amsterdam
T +31 (0)20 890 99 00 F +31 (0)20 890 99 99

 

 

 

 
 

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Deed of transfer of the Shares

subject to the Attachments and
the Rights

This tenth day of September two thousand seven, appeared before me, Jan-

Mathijs Petrus Hermans, civil-law notary in Amsterdam, the Netherlands:

(1)

(2)

 

Mr. Eduard Konstaninovich Reaqbun, (the "Seller’), residing in 64
Leninisky Prospect, Apartment 383, Moscow 117296, Russian Federa-
tion, born in Moscow, Russian Federation, on the fifteenth day of
March nineteen hundred forty-seven, holder of a valid passport of the
Russian Federation with number 51N°1999053, in his capacity of court
appointed bankruptcy receiver of QAO Yukos Oil Company, a com-
pany in the Receivership Proceedings (as defined below) incorporated
under the laws of the Russian Federation, with its registered office and
principal place of business located at 17 Dubininskaya St. Moscow
115054, Russian Federation, registered at the Unified State Register of
Legal Entities of Moscow Interdistrict Inspectorate number 46 of the
Federal Tax Service under Main State Registration Number
1028601259466; and
Mr. Stephen Patrick Lynch, residing in Letnikovskaya Ulitsa 11/10,
Building 12, Moscow, Russian Federation, and living at 438 Route 22,
North Salem, New York (NY), 10560, United States of America, born in
New York (NY), United States of America, on the twenty-third day of
January nineteen hundred sixty-seven, holder of a passport of the
United States of America with number 711471383, in his capacity of alt-
torney-in-fact pursuant to a power of attorney in writing dated the fourth
day of September two thousand seven, and as such representing:
Promneftstroy (the “Purchaser"), a company incorporated under the
laws of the Russian Federation, with its registered office and principal
place of business located at 19 Malaya Kaluzhskaya Street, Building 1,
Moscow, 117071, Russian Federation, registered at the Unified State
Register of Legal Entities of Moscow Interdistrict Inspectorate number
46 of the Federal Tax Service under Main State Registration Number
5077746429701.

 

 

 

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Seller and Purchaser hereinafter also referred to as "Party" and/or “Parties”.
Said individuals, in their said capacity, declared:
WHEREAS
(A) On the twenty-eighth day of March two thousand six, the Arbitrazh
Court (as defined below) opened a bankruptcy case of the Seller.
(B) Subsequently, on the first day of August two thousand six the Arbitrazh
Court opened Receivership Proceedings, whereby the powers of Sell-
ers’ management (in any event in relation to the matters subject of the
Agreement (as defined below) and this deed were terminated and the
Receiver (as defined below) was appointed,
(C) In accordance with the applicable Receivership Proceedings, the Re-
ceiver (as defined below) as the Seller entered into the Agreement with
the Purchaser, taking into full consideration the legal position of Ros-
neft and Moravel (both as defined below) as regards to the Admitted
Dutch Creditors Attachments (as defined below).
(D) To effect the obligation to transfer and accept the Shares as set forth in
the Agreement, the Seller and the Purchaser wish to enter into and

 

 

 

 

- execute this deed.
ITIS HEREBY AGREED AS FOLLOWS:
Article 1
Definitions
4.1 In this deed expressions shall have the meaning as indicated below: —
(A) "Admitted Dutch Creditors Attachments" means the Rosneft At-
tachment, the Moravel Attachment and the YNG Attachment severally
as well as jointly
(B) “Agreement” means the Share Purchase Agreement dated the
twentieth day of August two thousand seven to which the Seller and
the Purchaser are a Party;
(C) “Arbitrazh Court" means the Arbitrazh Court of the City of Moscow
(Ap6utpaxbit cya r. Mockest) in Moscow, Russian Federation----~
(D) “Articles” means: the articles of association of the Company as
presently in force and as partially amended by deed of amendment,
executed on the eleventh day of September two thousand six before

F.E. Roos, civil-law notary in Rotterdam, the Netherlands;
(E) “Attachment” means: the Admitted Dutch Creditors Attachments
and any subsequent conservatory or executory attachment made in the
Netherlands on the Shares by an Admitted Creditor prior to the Execu-
tory Sale;
(F) "Company" means: Yukos Finance B.V., a private company with
limited liability (besloten vennootschap met beperkte aansprake-

 

 

 

 

 

 

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liikheid), with its registered office in Amsterdam, the Netherlands, and
its business office at Jan van Goyenkade 13, 1075 HP Amsterdam, the
Netherlands, (correspondence address: Locatellikade 1, 1076 AZ Am-
sterdam, the Netherlands), registered at the Commercial Register of
the Chamber of Commerce for Amsterdam under file number
34107730;
(G) "DCC" means: the Dutch Civil Code (Burgerlijk Wetboek) as in
force at the date of this deed;
(H) "DCCP" means: the Dutch Code of Civil Procedure (Wetboek van
Burgerlijke Rechtsvordering) as in force at the date of this deed;
(1) "Dividends" means: (i) all dividends, interest or other income (includ-
ing, without limitation, any share premium called) paid or payable in re-
spect of the Shares, (ii) all stocks, shares, rights, securities or other
assets accruing or offered at any time (by way of redemption, bonus,
preference, option rights, or otherwise) in respect of the Shares, (iii) all
dividends, interest or other income in respect of any asset referred to
under (ii), and (iv) all proceeds in respect of the Shares on the dissolu-
tion ar liquidation of the Company;
(J) "Effective Date" means: the date of the Agreement;——----__—----
(K) "Moravel" means: Moravel Investments Limited, a company incor-
porated under the laws of Cyprus and having its office at Limassol, Cy-
prus;
(L) "Purchase Price” means: the non-refundable consideration ex-
pressed in Russian Rubbles paid for the Shares and the Rights defined
and set out in the Agreement;
(M) "Receiver" means: Mr. E.K. Rebgun in his capacity of court ap-
pointed bankruptcy receiver (KonKypCcHbIA ynpaanaiouui) of the Seller,
appointed by the Arbitrazh Court in Moscow on the first day of August
two thousand six;
(N) "Receivership Proceedings” means: the receivership proceedings
(KOHKypCHoe npousBogcTBo) that have been opened by a decision of
the Arbitrazh Court on the first day of August two thousand six and as
is evidenced by a judgment dated the fourth day of August two thou-
sand six with case number A 40-11836/06-88-35 for a term of one (14)
year which term was extended for a term of three (3) months by a de-
cision of the Arbitrazh Court on the seventh day of August two thou-
sand seven and as is evidenced by a judgment dated the eighth day of
August two thousand seven with case number A 40-11836/06-88-35; —
(O) “Rights” means: the Surplus and all rights in relation thereto, the
rights to declare, demand and collect dividends that are not included in

 

 

 

 

 

 

 

 

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the Shares and all claim rights and litigation rights - including but not
limited to the right to bring actions before the applicable forum and any
and all rights of Seller vis-a-vis Stichting AK and Yukos international
and its current and former directors and the Former Management
which Seller under Dutch or any other applicable laws has and will
have and may bring as a consequence of or in connection with the
transfer of all of the Company's transferable assets to Yukos Interna-
tional as a capital contribution in exchange for a share premium and
the simultaneous transfer of the Yukos International Shares to Stichting
AK in exchange for the Depository Receipts in or around April two
thousand five;
(P) "Rosneft" means: OAO Rosneft, a company incorporated under the
laws of the Russian Federation, having its office in Moscow, Russian
Federation;
(Q) "Shares" means: two hundred forty-two thousand three hundred
ninety-nine (242,399) ordinary shares, numbered 1 up to and including
242,399, each having a par value of one thousand euro (EUR 1,000),
in the capital of the Company including the Dividends; —-~

(R) "Surplus" means the Attachment Proceeds that will remain after wie
payments on the Admitted Claims and the Bailiffs Fees on account of
the Attachments;
(S) "YNG" means: (formerly prior to the merger with Rosneft) OAO
Yuganskneftegaz, a company incorporated under the laws of the Rus-
sian Federation and having its seat in Nefteyugansk, Russian Federa-
tion.

 

 

 

 

 

 

 

 

 

 

4.2 Unless indicated or evidently intended otherwise, capitalised words
and expressions used herein shall have the meaning as defined in the
Agreement.

4.3. Unless indicated or evidently intended otherwise, words or expressions
in the singular shall include the plural and vice versa.

1.4 Unless indicated or evidently intended otherwise, references in the

- masculine form shall include the feminine and neutral form and vice
versa,

Article 2

Transfer of the Shares and the Rights

2.1 The Seller hereby transfers the Shares and the Rights to the Pur-
chaser, which the Purchaser hereby accepts. ~

22 The Shares transferred are subject to the Attachments, pursuant to ar-

ticle 474e of the DCCP and pursuant to currently applicable principles
of Dutch international private (insolvency) law. > ere

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2.3 The transfer of the Shares and the Rights are both subject to the terms

and conditions as set forth in the Agreement, including but not limited
to the non-warranty clause as set forth in article 3 of the Agreement
and the relevant clauses are explicitly quoted hereunder:
"3.1 The Shares and the Rights are transferred “as is where is” (voet-
stoots) and the Seller with the consent of the Purchaser shall not make
any representations and warranties to the Purchaser in relation to the
Deed of Transfer, the Shares and the Rights, Yukos Finance or the
Management.
3.2 The Purchaser acknowledges that the Shares the Rights are sold
pursuant to the Auction and that the Seller is not required to provide
the Purchaser with any information beyond the scope of the Auction
Terms. Purchaser waives any right to require that the Seller shall pro-
vide additional information in relation to the Shares, the Rights and
Yukos Finance.
3.3 The Seller shall not be liable vis-a-vis the Purchaser for any losses
and damages incurred by the Purchaser as a result of this Agreement
and of the execution of the Deed of Transfer."

Article 3

Purchase Price and Acquittance for the Shares

3.1 The Seller hereby confirms receipt of the Purchase Price and therefore
acquits the Purchaser for the payment of the Purchase Price.

Article 4

Representations by the Seller

The Seller represents (without waiving the limitation of liability as stipulated in

the Agreement and as cited above) that:

(a) the Shares were acquired by the Seller as follows:

(i) by way of subscription and acceptance in the deed of incorpora-
tion of the Company, executed on the twenty-second day of
September nineteen hundred ninety-eight before H.B.H. Kraak,
at that time civil-law notary in Amsterdam, the Netherlands, forty
(40) shares, numbered 1 up to and including 40, each with a
par value at the time of one thousand Dutch Guilders (NLG
1,000), which forty (40) shares were redenominated and con-
verted into eighteen (18) shares, numbered 1 up to and includ-
ing 18, each with a par value of one thousand euro (EUR
1,000), by a deed of amendment of the Articles, executed on
the thirteenth day of June two thousand two before AA.
Voorneman, civil-law notary in Amsterdam, the Netherlands; —~

(ii) by way of subscription and acceptance in the deed of issue of

 

 

 

 

 

 

 

 

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shares in the capital of the Company, executed the thirteenth

day of June two thousand two before A.A. Voorneman,

aforementioned seventy thousand three hundred and one

(70,301) shares, numbered 19 up to and including 70,319, each

with a par value of one thousand euro (EUR 1,000);----~

(iil) | by way of subscription and acceptance in the deed of issue of

shares in the capital of the Cornpany, executed the thirteenth

day of June two thousand two before A.A. Voorneman

aforementioned, eleven thousand one hundred and eighty

(11,180) shares, numbered 70,320 up to and including, 81,499

each with a par value of one thousand euro (EUR 1,000);

(iv) by way of subscription and acceptance in the deed of issue of

shares in the capital of the Company, executed the nineteenth

day of September two thousand two before A.A. Voorneman,

aforementioned, eighty thousand one hundred and sixty two

(80,162) shares, numbered 81,500 up to and including 161,661,

each with a par value of one thousand euro (EUR 7,000);---—-

{v) by way of subscription and acceptance in the deed of issue of

shares in the capital of the Company, executed the eighteenth

day of March two thousand three before A.A. Voorneman,

aforementioned eighty thousand seven hundred thirty eight

(80,738) shares, numbered 161,662 up to and including

242,399, each with a par value of one thousand euro (EUR

7,000).

(b) the restrictions on share transfers contained in the Articles have no ef-

fect since the Seller is the sole shareholder of the Company and the

aforesaid restrictions do not contain an approval procedure. —-------~

Article 5

Waiver

5.1 The Seller and the Purchaser hereby waive the right to (cause to) dis-

solve or nullify the transfer of the Shares laid down in this deed in

whole or partially.

5.2 The Seller and the Purchaser hereby mutually accept the waiver as

mentioned in paragraph 1.

Article 6
Notice of transfer of Shares and existence of Agreement —

6.1. Each Party is authorised to arrange for the service of notice by a bailiff

to the Company of the transfer of the Shares -subject to the Admitted

Dutch Creditors Attachments- by the Seller to the Purchaser within the

meaning of Section 2:196b (3) of the DCC in conjunction with Section

 

 

 

 

 

 

 

 

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2:196a (1) of the DCC.

6.2 Together with a true copy of this deed, the bailiff as above mentioned,
will provide the Company with a copy of the Agreement.

6.3 Each Party agrees to notify each of the bailiffs, who made the Admitted
Dutch Creditors Attachments, within five (5) working days after the ser-
vice of notice as mentioned under 6.1 of the transfer of the Shares and
to inform the Amsterdam Court in accordance with the Agreement. —--

6.4 Parties hereby authorize me, notary, who will execute this deed to take
care on their behalf of the obligations as set forth in this article 6 if they
are not taken care of within ten (10) working days after execution of
this deed.

6.5 Each of the Parties is authorized to at any time notify each of the

Rights’ debtors of the transfer of the Rights.

Article 7
Indemnification notary
The Parties hereby irrevocably and unconditionally undertake to indemnify me,
the notary who will execute this deed and my successor(s) and the law firm of
which | am a partner, against all costs, claims, expenses and liabilities in
whichever way incurred by him as a result of the execution of this deed and
the authorization as mentioned under 6.4., except with respect to conduct that
will be deemed or held to be gross negligence or wilful misconduct. ~

Anticie 8

Declaratory judgment of evasion from the Admitted Dutch Creditors At-

tachments

3.1 Parties hereby explicitly confirm that it is not their intention to evade
(onttrekken aan het beslag) the Shares.

8.2 Parties hereby repeat hereunder the language as set forth in article 8
paragraph 3 of the Agreement in which they declare that they are of
the opinion that the Agreement and the transfer of the Shares as laid
down in this deed is not to be regarded as an evasion of the Shares
from the Admitted Dutch Creditors Attachments (onttrekken aan het
beslag):
" 8.3 It is the Parties’ explicit desire and intent that transfer of the Sha-
res that will be made in the Deed of Transfer shall not be determined
as an evasion (onttrekking aan) of the Shares from the Admitted Dutch
Creditors Attachments. The Parties believe that the contemplated
transfer of the Shares under this Agreement is not to be regarded as
an evasion of the Shares, since (i) the Admitted Dutch Creditors At-
tachments as made by the Bailiff remain in full force and effect and (1)
the rights of the Admitted Dutch Creditors in relation to the Shares and

 

 

 

 

 

 

 

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the Attachments will be respected in full as stipulated in article 474e
DCCP and (iii) the Shares will continue to be in the Netherlands in the
place of the registered seat of Yukos Finance and (iv) Yukos Finance
will upon notice of the transfer be instructed to enter the transfer in the
shareholders’ register such that it is subject to the Admitted Dutch Cre-
ditors Attachments and (v) the transfer of the Shares will be served by
means of a notice thereof to Yukos Finance (by a bailiff), which notice
will explicitly clarify the unaffected continuation of the Admitted Dutch
Creditor Attachments, and (vi) a copy of this Agreement and of the
Deed of Transfer and of this notice shall be submitted to the Amster-
dam Court in the Executory Sales Proceedings and to the Bailiff (vil)
the value of the Shares will not decrease as a result of this Agreement
or of the Deed of Transfer."

8.3 Parties explicitly accept the consequence that if and when a Dutch
competent court in a final decision in which the Purchaser is or may be
a party would have determined that the transfer of the Shares must be
regarded as an evasion of the Shares, then (i) the Shares will not be
deemed to have been transferred under the Deed of Transfer, (ji) the
Purchase Price will be deemed to have been given in full consideration
for the sale and transfer of the Rights and (ili) the Purchaser shall not
be entitled to any repayment of the Purchase Price or any part thereof
or of any Purchaser Costs.

Netherlands law. Forum

9.4 The transfer of the Shares and the Rights and the further obligations
laid down in this deed shall be governed by Netherlands law.

9.2 The competent court in Amsterdam, the Netherlands, shall have juris-
diction in the event of any disputes arising from this deed without
prejudice to the jurisdiction as agreed between the Seller and the Pur-
chaser in the Agreement.

Article 10

Costs

The costs of this deed are for the account of the Purchaser. —--------—

Sworn Interpreter

Also appeared before me, Gela Smit-Zhdanova, residing in 1271 LX Huizen,

Zuiderweg 5, born in Magdagachi Tiga, Russian Federation, on the thirtieth

day of May nineteen hundred fifty-five, married, holder of a valid passport of

the Netherlands with number NE7495893, acting as a sworn interpreter - as
appears from a report of the court session of the District Court of Amsterdam,
the Netherlands, dated the thirtieth day of September nineteen hundred
ninety-seven - who declared to have assisted the individual mentioned under

 

 

 

 

 

 

 

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Simmons & Simmons 9.

(1) in accordance with article 42 of the Code of the Notarial Profession, with
the translation of the contents of this deed and of the explanations made by
me, civil-law notary, given to the Parties, all this to the best of her knowledge. -
Final statements
The originals or copies of the powers of attorney given to the said individuals,
a copy of the executed Agreement and a copy of the report of the court ses-
sion of the District Court of Amsterdam related to Mrs Gela Smit-Zhdanova,
will be attached to this deed (annexes).
|, civil-law notary, stated and explained the substance of this deed and pointed
out the consequences of the contents of this deed to the said individuals, who
are known to me, civil-law notary. The said individuals then declared that they
had noted the contents of this deed and that they agreed therewith. Subse-
quently, this deed, which was executed in Amsterdam, was, immediately after
it had been read aloud in part, signed by the said individuals, the interpreter
and by me, civillaw notary, on the date first above written.

w.s. the said individuals and the civil law notary, Lf
/
ISSUED FOR TRUE CERTIFIED COPY
7

 

 

 

Wpsan-rdaminotary$\kVBdatalTeksten\60007734\AgreementAgo1 Transfer Shares Yukos Finance MINUUT.doc

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FULL DOCUMENT SUBJECT TO SEAL MOTION
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 

In re
KIRWAN OFFICES S.a R.L.,

Debtor.

 

 

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Chapter 11

Case No. 16-22321 (RDD)

SUPPLEMENTAL MEMORANDUM OF LAW IN
FURTHER SUPPORT OF STEPHEN P. LYNCH’S
MOTION FOR DISMISSAL, ABSTENTION, OR STAY

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On March 15, 2016, two shareholders of the debtor Kirwan Offices 5.4 R.L., a Luxembourg
company, demanded that Kirwan repay almost $345 million that they had advanced to Kirwan
over the previous nine years. The same day, the shareholders, Lapidem Ltd., a Cayman Island
company, and Mascini Holdings Limited, a Cyprus company, filed an involuntary petition
against Kirwan. Having a conflicted board, Kirwan could not oppose the petition. Instead, on
April 6, 2016, Kirwan’s third shareholder, Stephen P. Lynch, filed his Motion for Intervention and
Dismissal, Abstention, or Stay (“Dismissal Motion”) [ECF No. 8], seeking relief on several
alternative grounds. The Court heard the motion on June 17, 2016.

On July 5, 2016, the Court entered the Order (I) For Relief Under Chapter 11 of the Bankruptcy
Code and (II) Denying, in Part, Stephen P. Lynch's Motion for Intervention and Dismissal, Abstention,
or Stay. [ECF No. 43.] The Order for Relief (i) denied with prejudice Lynch’s request to intervene
to answer the Petition on Kirwan’s behalf, and (ii) granted the petition and issued the order for
relief, because Kirwan was unable to oppose the petition on the merits.! The Order for Relief also
denied with prejudice (iii) Lynch’s request to dismiss this case under the doctrine of forum non
conveniens and (iv) Lynch’s request for abstention under section 305? under the doctrine of forum
non conveniens or in favor of arbitration. But it expressly preserved Lynch’s other arguments
under section 305. Last, the Order for Relief (v) adjourned Lynch's request to dismiss the chapter
11 case under section 1112 and on related section 305 abstention/dismissal grounds, and

(vi) denied without prejudice Lynch’s request to stay the chapter 11 case pending arbitration.

 

| Lynch timely appealed these rulings. The appeal is pending before the District Court, which has
granted a stay of pending this Court's resolution of the remaining issues on the Dismissal Motion. Lynch
v. Lapidem Ltd. (In re Kirwan Offices S.@ R.L.), No. 16-cv-6300(VB) (S.D.N.Y. Dec. 9, 2016), ECF No.
13.

2 All section references are to the Bankruptcy Code, 11 U.S.C. §___, except as otherwise noted.

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The Court suggested the parties agree on a discovery schedule for the hearing on the
remaining issues. Instead, the parties agreed on a Scheduling Order and a Stipulation of Facts on
Motion to Dismiss or Abstain and its Exhibits, all filed November 21, 2016. [ECF Nos. 60, 62.] The
Scheduling Order limits the record on the hearing. Accordingly, this Memorandum addressing
the remaining issues cites exclusively to the Stipulation of Facts (“Stip.”), the Exhibits (“Ex.”),
and the other materials permitted under the Scheduling Order. The Scheduling Order also
provides for legal memoranda in support and in opposition to the remaining issues under the
Dismissal Motion. Lynch respectfully submits this Memorandum of Law in further support of
the Dismissal Motion and requests the Court (1) dismiss this chapter 11 case under section 1112(b)
for cause, or (2) dismiss or abstain from exercising jurisdiction over the case under section 305(a).

Summary of Argument

The Financing Shareholders have admitted —repeatedly, unambiguously, and with
surprising candor—that their primary purpose in filing this bankruptcy case is to relieve
themselves of their obligations to Lynch under the Kirwan Shareholders Agreement, especially
their obligation to obtain his consent to any settlement of ongoing litigation involving Kirwan’s
only asset, its wholly owned subsidiary. In light of this admission, this case presents a particularly
powerful application of the rule that bankruptcy should not be used to resolve two-party or
corporate governance disputes that are unrelated to the reorganization of an ongoing business or
to the determination of creditors’ competing claims. Indeed, this case contains several factors that

courts have found dispositive in holding that such a case is filed in bad faith:

e Kirwan exists solely to monetize a single investment, it has no operations, no
business to reorganize, no cash flow, no employees, and no other material
creditors.

e Although the Financing Shareholders claim to be creditors, they are primarily
seeking to advance their interests as shareholders by voiding their own obligations

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to Lynch under Kirwan’s Shareholders Agreement, the Financing Shareholders
are not primarily seeking relief for Kirwan nor seeking relief from Kirwan that
creditors seek in bankruptcy.

e Because a single person (Richard Deitz) ultimately controls both Financing
Shareholders, Lynch is the only other Kirwan shareholder, and no one else has a
meaningful interest in this case, this case is in reality a litigation tactic in a two-
party dispute between Deitz and Lynch over matters governed by the SHA.

° Deitz is unable to achieve the desired corporate governance change outside of
bankruptcy; the Financing Shareholders filed this involuntary case only after
multiple unsuccessful attempts to change their corporate governance obligations
through other means, one of which was expressly rejected by the London Court of
International Arbitration (“LCIA”).

There is a second reason for dismissing or abstaining from this case: It has no meaningful
connection to the United States. Kirwan is a Luxembourg company that owns a Russian
subsidiary that purchased shares of a Dutch company in a Russian bankruptcy auction; the
Financing Shareholders are Cayman and Cypriot and are controlled by Deitz in England; and all
the shareholders agreed in Kirwan’s Shareholder Agreement to binding arbitration in London
under English law. The Financing Shareholders contrived bankruptcy jurisdiction in the United
States based solely on retainers paid to New York law firms and should not be permitted to
maintain the cases here because, among other reasons, it defies the parties’ legitimate
expectations.

Despite these undisputed facts, the Financing Shareholders based their claim for
bankruptcy relief on their contention that Lynch will veto any settlement of the underlying
litigation that does not result in a pay-out to him and that only a USS. bankruptcy court can break
that anticipated logjam. There is no evidence of that, and in fact, if Lynch is presented with a
settlement that acknowledges, protects, and reasonably compensates him for his rights and
interests, he would accept it. But even if the Financing Shareholders’ contention were true, it

would not make this a proper bankruptcy case. If the Financing Shareholders are entitled to any

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relief from the bargain they struck, they must seek it in an LCIA arbitration. As described more
fully below, the case should be dismissed for bad faith for lack of a proper bankruptcy purpose
or because the parties did not reasonably expect an insolvency proceeding in this forum.
Statement of Facts
A. Kirwan’s Acquisition of PNS and the Yukos Finance Shares

The Russian bankruptcy receiver for Russian oil company Yukos Oil scheduled an auction
of the shares of Yukos Finance B.V., a Dutch company (“Yukos Finance”), which was the largest
foreign subsidiary of Yukos Oil, for August 15, 2007. Three parties, VR Global Partners, LP

“VRGP”), Renaissance Holdings Management Limited (“Renaissance”), and Stephen P. Lynch,

on

came together to consider a bid on the shares

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Lynch, representing PNS, attended the
auction and made the winning bid for the Yukos Finance shares. [Stip. § 21, Ex. 14/2 at 5.] At the
closing of the sale, the Russian bankruptcy receiver removed the existing Yukos Finance directors
and appointed Lynch and Robert Reid, then an employee of Renaissance Capital, as Yukos
Finance directors. [See Stip. { 41.]

B. Kirwan and its Shareholders Agreement

On August 30, 2007, the consortium members signed the Kirwan Shareholders Agreement
(“SHA”). [Stip. | 25, Ex. 25/1.] Under the SHA, Lynch caused his company OOO Monte Valle to
transfer the PNS participatory interests to Kirwan in consideration for 1 Class C share in Kirwan,
Through their respective subsidiaries Lapidem and Mascini, whom the SHA refers to together as
the “Financing Shareholders,” VRGP and Renaissance invested in Kirwan the funds PNS needed
to complete the Yukos Finance share purchase in consideration for 1,500,000 Class B and 1,000,000
Class A shares. [Stip. §{ 2-3.]

The shareholders agreed in the SHA that Kirwan’s sole purpose is to acquire legal title to
and to monetize its investment in the Yukos Finance shares and distribute the proceeds to the

shareholders. [SHA Recitals A-D at 1, cls. 4.3.1 at 10, 5.3 at 10, 5.4 at 10, 11.4 at 17.] The SHA

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permits no other course of action for Kirwan and expressly commits the Shareholders to pursuing
this course without time limit. [SHA cl. 23.1 at 29.] Kirwan’s only material asset is its participatory
(ownership) interest in PNS. [Stip. {| 7.] It never had and never was intended to have trading
operations or employees or to generate income other than from its investment in Yukos Finance.
[Stip. § 7.] In short, Lynch made an “all or nothing” agreement with extremely sophisticated
counterparties, the Financing Shareholders.

The SHA is governed by English law [SHA cl. 30 at 36] and provides for arbitration before
the LCIA of “any dispute, controversy or claim between the Parties aris[ing] out of or in
connection with th[e] Agreement, including any question regarding its existence, breach,
termination or invalidity.” [SHA cl. 25 at 31.]

C. Kirwan’s Financing

Pe Initially, the Loans were partially interest-bearing but were converted to non-
interest-bearing days later. [Stip. {| 35.b.] To minimize the risk to Kirwan, to Lapidem and Mascini
(then under separate control), and to Lynch of treating at least the initial investment as a loan, the
SHA makes the loans equity-like by providing that the Financing Shareholders “agree to waive
any remedies that they may have in relation to any non-payment or non-performance by the

Company” under the Loans. [SHA cl. 5.6 at 11.]

the SHA commits the Financing

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